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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION


   THE TRANSPARENCY PROJECT,                      §
                                                  §
                  Plaintiff,                      §    CIVIL ACTION NO. 4:20-CV-00467-SDJ-
   v.                                             §                  CAN
                                                  §
   UNITED STATES DEPARTMENT OF                    §
   JUSTICE, ET AL.,                               §
                                                  §
                  Defendants.                     §

                             REPORT AND RECOMMENDATION
                          OF UNITED STATES MAGISTRATE JUDGE

         Pending before the Court is the Non-FBI Defendants’ Motion for Summary Judgment

  [Dkt. 51].   Having considered the Motion, Plaintiff’s Response/Cross-Motion for Summary

  Judgment [Dkt. 59], Defendants’ Reply [Dkt. 62], and Plaintiff’s Sur-Reply [Dkt. 63], and all

  other relevant filings, the Court recommends Non-FBI Defendants’ Motion for Summary

  Judgment [Dkt. 51] be GRANTED IN PART, as set forth herein, and Plaintiff’s Cross-Motion

  [Dkt. 59] be DENIED.

                                        INTRODUCTION

         On June 12, 2020, Plaintiff The Transparency Project (“Plaintiff”) filed the instant lawsuit

  against the U.S. Department of Justice (“DOJ”) and the National Security Agency (“NSA”) to

  compel responses to requests filed by Plaintiff pursuant to the Freedom of Information Act

  (“FOIA”) [Dkt. 1]. On July 20, 2020, Plaintiff filed an amended complaint, adding as Defendants

  the Federal Bureau of Investigation (“FBI”), the Central Intelligence Agency (“CIA”), and the

  Office of the Director of National Intelligence (“ODNI”) [Dkt. 5]. The instant motion addresses

  eight individual FOIA requests by Plaintiff to these agencies seeking a wide range of documents.
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             Plaintiff’s suit asserts one count for violation of FOIA, 5 U.S.C. § 552, alleging irreparable

  harm and averring Plaintiff will “continue to be irreparably harmed unless the Defendants are

  compelled to comply with FOIA” [Dkt. 5 at 13]. Plaintiff requests the following relief:

             (1) order the Defendants to conduct a search for any and all records responsive to
             the Plaintiff’s FOIA requests and demonstrate that they employed search methods
             reasonably likely to lead to the discovery of records responsive to the Plaintiff’s
             FOIA request; (2) order the Defendants to produce, by a date certain, any and all
             non-exempt records responsive to the Plaintiff’s FOIA requests and a Vaughn index
             of any responsive records withheld under claim of exemption; (3) enjoin the
             Defendants from continuing to withhold any and all nonexempt records responsive
             to the Plaintiff’s FOIA requests; (4) grant the Plaintiff an award of litigation costs
             reasonably incurred in this action pursuant to 5 U.S.C. § 552(a)(4)(E); and (5) grant
             the Plaintiff such other relief as the Court deems just and proper.

  [Dkt. 5 at 14].1

  Non-FBI Defendants’ Motion for Summary Judgment

             On February 22, 2022, the Non-FBI Defendants filed the instant Motion for Summary

  Judgment [Dkt. 51]. The Non-FBI Defendants include DOJ, NSA, CIA, and ODNI. The DOJ

  component entities are the National Security Division (“NSD”), the Criminal Division (“CRM”),

  the Executive Office of United States Attorneys (“EOUSA”), and the Office of Information Policy

  (“OIP”) on behalf of the Offices of the Attorney General (“OAG”) and the Office of Legislative

  Affairs (“OLA”) [Dkt. 51 at 1 & n.1]. On April 5, 2022, Plaintiff filed its Response in Opposition

  to Non-FBI Defendants’ Motion for Summary Judgment and Plaintiff’s Cross-Motion for

  Summary Judgment [Dkt. 59]. Discussed more fully infra, Defendants argue Plaintiff “does not

  actually move for summary judgment but rather just provides conclusory arguments in response”

  to their motion [Dkt. 62 at 1]. On May 2, 2022, Defendants filed their reply to Plaintiff’s

  response/“cross-motion” [Dkt. 62]. On May 3, 2022, Plaintiff filed a sur-reply [Dkt. 63].




  1
      On April 29, 2021, this matter was referred to the undersigned for pretrial proceedings [Dkt. 23].


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                              SUMMARY JUDGMENT STANDARD

         Summary judgment is proper “if the movant shows that there is no genuine issue as to any

  material fact and that the movant is entitled to judgment as a matter of law.” FED. R. CIV. P. 56(a).

  “FOIA cases typically and appropriately are decided on motions for summary judgment.” Defs.

  of Wildlife v. U.S. Border Patrol, 623 F. Supp. 2d 83, 87 (D.D.C. 2009) (citing Bigwood v. U.S.

  Agency of Int’l Dev., 484 F. Supp. 2d 68,73 (D.D.C. 2007)). “To prevail under Rule 56, a federal

  agency ‘must prove that each document that falls within the class requested either has been

  produced, is unidentifiable, or is wholly exempt from the (FOIA) inspection requirements.’”

  Buzzfeed, Inc. v. U.S. Dep’t of Homeland Sec., No. 19-CV-03062 (DLF), 2022 WL 2303985, at

  *2 (D.D.C. June 27, 2022) (quoting Perry v. Block, 684 F.2d 121, 126 (D.C. Cir. 1982) (per

  curiam) (citation omitted)). “The burden is on the government agency to show that nondisclosed,

  requested material falls within a stated exemption.” Smith v. CIA, 393 F. Supp. 3d 72, 78 (D.D.C.

  2019) (citing Petroleum Info. Corp. v. U.S. Dep’t of Interior, 976 F.2d 1429, 1433 (D.C. Cir.

  1992)). “The district court conducts a de novo review of the government’s decision to withhold

  requested documents under any of FOIA’s specific statutory exemptions.” Id. (citing 5 U.S.C.

  § 552(a)(4)(B)). “When a federal agency moves for summary judgment in a FOIA case, the court

  views all facts and inferences in the light most favorable to the requester, and the agency bears the

  burden of showing that it complied with FOIA.” Citizens for Resp. & Ethics in Wash. v. U.S.

  Dep’t of Just., 567 F. Supp. 3d 204, 210 (D.D.C. 2021) (citing Chambers v. U.S. Dep’t of Interior,

  568 F.3d 998, 1003 (D.C. Cir. 2009)).

         “In FOIA cases, including those where a Glomar response is issued, summary judgment

  may be based solely on information provided in the agency’s supporting declarations.” Smith v.

  CIA, 393 F. Supp. 3d at 78. In ruling on a summary judgment motion, a court “may rely on non-




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  conclusory agency affidavits demonstrating the basis for withholding if they are not contradicted

  by contrary evidence in the record or by evidence of the agency’s bad faith.” Campaign Legal

  Ctr. v. U.S. Dep’t of Just., 34 F.4th 14, 22 (D.C. Cir. 2022) (quoting Reporters Comm. for Freedom

  of the Press v. FBI, 3 F.4th 350, 361 (D.C. Cir. 2021)). “An agency may sustain its burden by

  means of affidavits, but only ‘if they contain reasonable specificity of detail rather than merely

  conclusory statements.’” Lindsey v. FBI, 490 F. Supp. 3d 1, 9 (D.D.C. 2020) (quoting Multi Ag

  Media LLC v. Dep’t of Agric., 515 F.3d 1224, 1227 (D.C. Cir. 2008)). Taken together, “[i]f an

  agency’s affidavit describes the justifications for withholding the information with specific detail,

  demonstrates that the information withheld logically falls within the claimed exemption, and is not

  contradicted by contrary evidence in the record or by evidence of the agency’s bad faith, then

  summary judgment is warranted on the basis of the affidavit alone.” Id. (quoting ACLU v. DOD,

  628 F.3d 612, 619 (D.C. Cir. 2011)). “Ultimately, an agency’s justification for invoking a FOIA

  exemption is sufficient if it appears ‘logical’ or ‘plausible.’” Larson v. Dep’t of State, 565 F.3d

  857, 862 (D.C. Cir. 2009) (quoting Wolf v. CIA, 473 F.3d 370, 374-75 (D.C. Cir. 2007)).

                              SUMMARY JUDGMENT EVIDENCE

         Defendants submit the following declarations and supporting exhibits in support of their

  Motion for Summary Judgment:

         CIA – Blaine Declaration [Dkt. 51-1 at 1-39]: Declaration of Vanna Blaine,
         Information Review Officer, Litigation Information Review Office, Central
         Intelligence Agency (Feb. 10, 2022):

                 Exhibit A [Dkt. 51-1 at 40-102]: CIA Vaughn Index;

                 Exhibit B [Dkt. 51-1 at 103-06]: May 28, 2020 Request;

                 Exhibit C [Dkt. 51-1 at 107-08]: CIA Acknowledgement of May 28, 2020
                 Request, Reference F-2020-01504 (June 15, 2020);




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               Exhibit D [Dkt. 51-1 at 109-13]: June 18, 2020 Request [Reference F-2020-
               1646];

               Exhibit E [Dkt. 51-1 at 114-16]: Interim Response to May 28 and June 18
               Requests (June 4, 2021);

               Exhibit F [Dkt. 51-1 at 117-20]: June 4, 2021 Interim Response,
               Confirmation of Mail Returned;

               Exhibit G [Dkt. 51-1 at 121-23]: Final Response (July 13, 2021).

        EOUSA – Cain Declaration [Dkt. 51-2 at 1-8]: Declaration of Kara Cain, Executive
        Office for United States Attorneys (Feb. 7, 2022):

               Exhibit A [Dkt. 51-2 at 9-10]: EOUSA Vaughn Index;

               Exhibit B [Dkt. 51-2 at 11-13]: October 26, 2018 Request;

               Exhibit C [Dkt. 51-2 at 14-17]: Final Response to October 26, 2018 Request
               [Request No. EOUSA-2019-000496] (June 25, 2021);

               Exhibit D [Dkt. 51-2 at 18-21]: Final Response to June 11, 2020 Request
               [Request No. EOUSA-2020-004715] and Vaughn Index (Jan. 12, 2021).

        NSA – Kiyosaki Declaration [Dkt. 51-3 at 1-27]: Declaration of Linda M. Kiyosaki,
        National Security Agency (Feb. 10, 2022):

               Exhibit A [Dkt. 51-3 at 28-32]: October 29, 2018 Request and June 12,
               2020 Request;

               Exhibit B [Dkt. 51-3 at 33-38]: Initial Response and Final Response to
               October 29, 2018 Request (Feb. 2, 2021);

               Exhibit C [Dkt. 51-3 at 39-43]: Initial Response and Final Response to June
               12, 2020 Request;

               Exhibit D [Dkt. 51-3 at 44-47]: Appeal of June 12 Request Final Response
               (Feb. 11, 2021);

               Exhibit E [Dkt. 51-3 at 48-61]: NSA Records Produced;

               Exhibit F [Dkt. 51-3 at 62-75]: Reissuance of Final Response to October 29,
               2018 Request, Updated Exemptions, and Vaughn Index (Feb. 10, 2022).




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        ODNI – Koch Declaration [Dkt. 51-4 at 1-13]: Declaration of Gregory M. Koch,
        Office of the Director of National Intelligence (Feb. 9, 2022):

               Exhibit A [Dkt. 51-4 at 14-17]: June 11, 2020 Request;

               Exhibit B [Dkt. 51-4 at 18-19]: ODNI Acknowledgement of June 11, 2020
               Request, tracking number DF-2020-00269 (July 6, 2020);

               Exhibit C [Dkt. 51-4 at 20-22]: Final Response (Sept. 1, 2021);

               Exhibit D [Dkt. 51-4 at 23-25]: Vaughn Index (Jan. 12, 2021).

        FBI – Seidel Declaration [Dkt. 51-5 at 1-12]: Third Declaration of Michael G.
        Seidel, Federal Bureau of Investigation, regarding request referred by CIA
        (Feb. 17, 2022)

        NSD – Findlay Declaration [Dkt. 52 at 1-8]: Declaration of Patrick N. Findlay,
        General Counsel of the National Security Division of the United States Department
        of Justice (Feb. 2, 2022):

               Exhibit A [Dkt. 52 at 9-11]: October 26, 2018 Request;

               Exhibit B [Dkt. 52 at 12-14]: June 11, 2020 Request;

               Exhibit C [Dkt. 52 at 15-18]: June 15, 2020 Request;

               Exhibit D [Dkt. 52 at 19-21]: June 18, 2020 Request;

               Exhibit E [Dkt. 52 at 22-24]: NSD Acknowledgement of June 11, 2020
               Request, tracking number NSD 20-341, and Notice of Request for
               Clarification (Sept. 2, 2020);

               Exhibit F [Dkt. 52 at 25-27]: NSD Acknowledgement of June 15, 2020
               Request, tracking number NSD 20-333, and Request to Narrow Request
               Topics (Nov. 5, 2020);

               Exhibit G [Dkt. 52 at 28-70]: First Interim Response to June 15, 2020
               Request (Mar. 9, 2021), and Produced Records;

               Exhibit H [Dkts. 52 at 71-123; 52-1 at 1-99]: Final Response to June 15,
               2020 Request (Aug. 30, 2021);

               Exhibit I [Dkt. 52-1 at 100-22]: Final Response to June 18, 2020 Request
               (Nov. 16, 2021).




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  No objections have been made to the Court’s consideration of any of the submitted summary

  judgment evidence.2

  Request for Judicial Notice

           Plaintiff does not submit any evidence in response to Defendants’ motion or in support of

  his “cross-motion,” discussed more fully infra [See Dkt. 59]. Instead, Plaintiff requests the Court

  “take judicial notice of the Plaintiff’s Response in Opposition to Defendants’ Motion for Summary

  Judgment and Plaintiff’s Cross- Motion for Summary Judgment (Doc. No. 46), Brian Huddleston

  v. Federal Bureau of Investigation, et al., Case No. 4:20-cv-447-ALM (E.D. Tex.)” (hereinafter,

  “Huddleston Response”) [Dkt. 59 at 9].3 More specifically, Plaintiff urges “[t]he Department of

  Justice has a very poor track record when it comes to matters pertaining to Mr. Rich” and as the

  Huddleston Response purportedly explains, “Mr. Rich is dead, thus he has very little privacy

  interest to protect” [Dkt. 59 at 9]. Plaintiff bears the burden to show judicial notice is proper as

  the requesting party, yet Plaintiff offers no authority that the Court may consider such factual

  allegations by way of judicial notice. See Ambler v. Williamson Cnty., No. 1-20-CV-1068-LY,

  2021 WL 769667, at *3 (W.D. Tex. Feb. 25, 2021) (citing 21B CHARLES ALAN WRIGHT & ARTHUR

  R. MILLER, FEDERAL PRACTICE AND PROCEDURE § 5108 (2d ed. 2020)) (“The burden is on the

  party seeking judicial notice to show that these requirements have been satisfied.”).

           The Court declines consideration of the factual averments in the Huddleston Response

  under the guise of judicial notice. Judicial notice is limited to adjudicative facts4 – the Court may


  2
    The Court notes Plaintiff’s request for in camera review of certain materials is not raised as an evidentiary objection
  to the Court’s consideration of Defendants’ exhibits in support of the motion for summary judgment.
  3
    See Huddleston v. Fed. Bureau of Investigation, No. 4:20-cv-00447-ALM (E.D. Tex. filed June 1, 2020).
  4
    Federal Rule of Evidence 201 permits judicial notice of an “adjudicative fact” where the fact is “not subject to
  reasonable dispute because it is either (1) generally known within the territorial jurisdiction of the trial court or
  (2) capable of accurate and ready determination by resort to sources whose accuracy cannot be questioned.” Taylor
  v. Charter Med. Corp., 162 F.3d 827, 829 (5th Cir. 1998) (quoting FED. R. EVID. 201(b)). A court may take judicial
  notice of publicly available documents. Funk v. Stryker Corp., 631 F.3d 777, 783 (5th Cir. 2011) (citing Norris v.




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  take notice that Plaintiff did indeed file the Huddleston Response, but it cannot take notice of

  disputed facts alleged therein. See Ambler, 2021 WL 769667, at *3 (quoting Lovelace v. Software

  Spectrum Inc., 78 F.3d 1015, 1018 (5th Cir. 1996)) (“The court’s notice, however, is limited to the

  existence of the document, ‘not to prove the truth of the documents’ contents.’”); Kaye v. Lone

  Star Fund V (U.S.), L.P., 453 B.R. 645, 664-65 (N.D. Tex. 2011) (citing Anderson v. Dall. Cnty.,

  No. 3:05–cv–1248–G, 2007 WL 1148994, at *4 (N.D. Tex. Apr. 18, 2007)) (“When a court takes

  judicial notice of public documents or documents from another court, it may only take notice of

  the undisputed facts therein, which do not include the ‘facts’ asserted in various affidavits and

  depositions.”). Arguments made by motion in another proceeding are not adjudicative facts not

  subject to dispute, and judicial notice is therefore not appropriate. See Kaye, 453 B.R. at 665

  (where asked to take judicial notice of a motion filed in another case, “the court declined to do so

  because ‘the myriad of facts contained in [those] documents [were] neither generally known nor

  reasonably indisputable.’”).5

           Plaintiff also asks the Court to consider the Government’s reply in Huddleston

  (“Government’s Huddleston Reply”) [Dkt. 63 at 2-3]. Plaintiff urges that the Government’s

  Huddleston Reply shows the Government, in that case, “provided supplemental declarations to

  address the absent search terms,” which Plaintiff believes “contrasts markedly” with the reply in

  this case, where “Defendants did not respond at all” to his response/“cross-motion” [Dkt. 63 at 2].



  Hearst Tr., 500 F3d 454, 461 n.9 (5th Cir. 2007)). However, only facts “not subject to reasonable dispute” within
  such documents may be noticed in this manner. SB Int’l, Inc. v. Jindal, No. 3:06-CV-1174-G, 2007 WL 1411042, at
  *1 (N.D. Tex. May 14, 2007); Mabile v. BP, P.L.C., No. 11-1783, 2016 WL 5231839, at *17 (E.D. La. Sept. 22, 2016).
  5
    To the extent Plaintiff intended the request for judicial notice to effectuate incorporation by reference, this is not
  proper. See Kaye, 453 B.R. at 666 (similarly finding judicial notice is not a proper vehicle to “incorporate” a filing
  from another case into a dispositive motion). Further, under the Local Rules, Plaintiff did not attach the other filing
  as an exhibit, so it is not part of the briefing in support of the instant response/cross-motion. See Local Rule CV-7(c),
  (d) (“The motion and any briefing shall be contained in one document. . . . The response and any briefing shall be
  contained in one document.”). “A party’s failure to oppose a motion in the manner prescribed herein creates a
  presumption that the party does not controvert the facts set out by movant and has no evidence to offer in opposition
  to the motion.” Local Rule CV-7(d).


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  It is not clear what exactly Plaintiff asks the Court to take notice of, beyond its speculation as to

  why Defendants filed different replies in each case.6 See SB Int’l, Inc. v. Jindal, No. CIV A 306-

  CV-1174-G, 2007 WL 1411042, at *2 (N.D. Tex. May 14, 2007) (“the defendant fails to explain

  in his motion what exactly he wishes the court to take judicial notice of.”). The Court will take

  notice of the filing of the Government’s Huddleston Reply.7 See id. (citation omitted) (citing

  Taylor, 162 F.3d at 830) (“If the defendant wishes the court to take judicial notice of the fact that

  these documents exist and were filed . . . the court takes such notice. If, however, [the defendant]

  wishes the court to take judicial notice of the contents of those documents, the court concludes that

  any ‘facts’ contained in the petitions, counterclaims, and motion are subject to reasonable dispute

  and, therefore, not appropriate for judicial notice.”).                    However, the facts raised by the

  Government’s Huddleston Reply, as summary judgment evidence in that proceeding, are not

  properly taken by judicial notice. See e.g., DeFranceschi v. Seterus, Inc., No. 4:15-CV-870-O,

  2016 WL 6496319, at *2 (N.D. Tex. Apr. 18, 2016) (“The facts contained in the petition and in

  Defendants’ summary judgment evidence, however, are subject to dispute and are not appropriate

  for judicial notice.”).




  6
    The Court does not consider Plaintiff’s implication that Defendants’ decision to file a shorter reply than the
  Government’s Huddleston Reply ipso facto means Defendants’ instant reply is deficient or otherwise concedes
  Plaintiff’s augments. Defendants’ short reply refutes this implication directly by explaining its briefing decision:

           The Non-FBI Defendants do not want to burden the Court with a reply to Plaintiff’s Opposition to
           the Non-FBI Defendants’ Motion for Summary Judgment when one is not necessary here, as
           Plaintiff’s opposition is admittedly poorly briefed and conclusory.

  [Dkt. 62 at 1 n.2]. Courts must exercise judicial notice “with caution” and “[e]very reasonable doubt upon the subject
  should be resolved promptly in the negative.’” See Ambler, 2021 WL 769667, at *3 (quoting Brown v. Piper, 91 U.S.
  37, 43 (1875)). On the present record, the Court declines to consider the substance of the filings in Huddleston.
  7
    To be clear, the Court is taking judicial notice limited to the fact the Huddleston Response and Government’s
  Huddleston Reply were filed because Plaintiff so requests, though this result is of no import. See In re Xtreme Power
  Inc., 563 B.R. 614, 631 (Bankr. W.D. Tex. 2016) (“although it fails to see the value in this request, the Court will
  judicially notice the fact that the Veritas Suit exists. The Court will not take judicial notice of any references to the
  factual allegations or pleadings from that suit.”).


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   Summary of Eight Disputed FOIA Requests

          October 26, 2018 – DOJ (Request #1)

          On October 26, 2018, Plaintiff submitted a FOIA request to component entities of DOJ,

   seeking records concerning Imran Awan, Abid Awan, Jamal Awan, Hini Alvi, Rao Abbas, and

   Seth Rich. The request was submitted to OAG, NSD, CRM, OLA, EOUSA, and FBI. Specifically,

   Plaintiff requested:

          1. Documents, files, records, and communications (regardless of electronic, paper
                 or other format) referencing Imran Awan.
          2. Documents, files, records, and communications (regardless of electronic, paper
                 or other format) referencing Abid Awan.
          3. Documents, files, records, and communications (regardless of electronic, paper
                 or other format) referencing Jamal Awan.
          4. Documents, files, records, and communications (regardless of electronic, paper
                 or other format) referencing Hina Alvi.
          5. Documents, files, records, and communications (regardless of electronic, paper
                 or other format) referencing Rao Abbas.
          6. From the National Security Division only, I request documents, files, records,
                 and communications (regardless of electronic, paper or other format)
                 referencing Seth Conrad Rich or “Seth Rich,” who is deceased.

   [Dkt. 5 at 16-17].

          October 29, 2018 – NSA (Request #2)

          On October 29, 2018, Plaintiff submitted a FOIA request to NSA seeking communications

   with members of Congress regarding various individuals. Specifically, Plaintiff requested:

          1. All correspondence received from or sent to any member of Congress (or anyone
                  representing a member of Congress or Congressional committee) since
                  January 1, 2016 regarding or referencing Seth Conrad Rich.
          2. All correspondence received from or sent to any member of Congress (or anyone
                  representing a member of Congress or Congressional committee) since
                  January 1, 2016 regarding or referencing Julian Assange.
          3. All correspondence received from or sent to any member of Congress (or anyone
                  representing a member of Congress or Congressional committee) since
                  January 1, 2016 regarding or referencing Wikileaks.
          4. All correspondence received from or sent to any member of Congress (or anyone
                  representing a member of Congress or Congressional committee) since
                  January 1, 2016 regarding or referencing Kim Dotcom.



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            5. All correspondence received from or sent to any member of Congress (or anyone
                    representing a member of Congress or Congressional committee) since
                    January 1, 2016 regarding or referencing Aaron Rich.
            6. All correspondence received from or sent to any member of Congress (or anyone
                    representing a member of Congress or Congressional committee) since
                    January 1, 2016 regarding or referencing Shawn Lucas.
            7. All correspondence received from or sent to any member of Congress (or anyone
                    representing a member of Congress or Congressional committee) since
                    January 1, 2016 regarding or referencing Kelsey Mulka.
            8. All correspondence received from or sent to any member of Congress (or anyone
                    representing a member of Congress or Congressional committee) since
                    January 1, 2016 regarding or referencing Imran Iwan.
            9. All correspondence received from or sent to any member of Congress (or anyone
                    representing a member of Congress or Congressional committee) since
                    January 1, 2016 regarding or referencing Abid Awan.
            10. All correspondence received from or sent to any member of Congress (or
                    anyone representing a member of Congress or Congressional committee)
                    since January 1, 2016 regarding or referencing Jamal Awan.
            11. All correspondence received from or sent to any member of Congress (or
                    anyone representing a member of Congress or Congressional committee)
                    since January 1, 2016 regarding or referencing Hina Alvi.
            12. All correspondence received from or sent to any member of Congress (or
                    anyone representing a member of Congress or Congressional committee)
                    since January 1, 2016 regarding or referencing Rao Abbas.

   [Dkt. 5 at 19-20].

            May 28, 2020 – CIA (Request #3)

            On May 28, 2020, Plaintiff submitted a FOIA request to CIA seeking various records

   related to the “2016 Data Breach.”8 Specifically, Plaintiff requested:

            1. I request the opportunity to view all metadata, communications (internal or
                    external), records, documents, reports or other evidence regarding whether
                    the CIA, its Directorate of Digital Innovation, or any of the CIA’s foreign
                    or domestic affiliates, agents, employees or contractors played a role in
                    inserting Russian “fingerprints” (e.g., “COZY BEAR” or “FANCY
                    BEAR”) into data from the 2016 Data Breach. In other words, the CIA
                    should produce all evidence indicating whether the CIA, its Directorate of
                    Digital Innovation or any of the CIA’s foreign or domestic affiliates, agents,
                    employees or contractors inserted or fabricated evidence to make it appear
                    that Russians or other third parties were responsible for the 2016 Data

   8
    Plaintiff’s request defines “2016 Data Breach” as the events related to the “the removal, transfer, copying or stealing
   of data from Democratic National Committee (hereinafter “DNC”) computer servers in 2016, data which was later
   published by Wikileaks” [Dkt. 5 at 22].


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                   Breach. This includes, for example, any and all evidence that the Directorate
                   of Digital Innovation created or operated the “Guccifer 2.0” or “DCLeaks”
                   profiles or any other online profile used to promote or distribute data from
                   the 2016 Data Breach.
         2.   I request the opportunity to view all tangible evidence indicating whether the
                   2016 Data Breach was the result of (1) outside forces (e.g., Russian agents,
                   Pakistani agents, etc.) who hacked the servers from a remote location or (2)
                   an individual or individuals who were present at or inside DNC facilities
                   and copied the data onto a storage device. If, for example, the CIA obtained
                   any communications between Seth Rich and Julian Assange or Wikileaks
                   (e.g., from the National Security Agency, the United Kingdom’s
                   Government Communications Headquarters, or any other person or entity),
                   then those communications should be produced. If the CIA has any
                   evidence whatsoever that the DNC servers were hacked externally or that
                   DNC data was leaked from an internal source, that evidence should be
                   produced.
         3.   Former CIA Director John Brennan testified that in the summer of 2016, he
                   convened a task force / working group involving the CIA, NSA and FBI to
                   investigate intelligence showing contact between Russian officials and
                   Trump affiliates. I wish to view all documents, records, and/or
                   communications that (1) identify the name and agency affiliation of each
                   member of the task force / working group as well as (2) the dates that each
                   such person began and ceased working with the group. I also wish to view
                   all documents, records, and/or communications indicating whether the task
                   force / working group fabricated or attempted to fabricate evidence of
                   collusion between Donald Trump (or his presidential campaign) and
                   Russian officials. If, for example, individuals from the task force tried to
                   create the false impression that Trump campaign officials were acting at the
                   behest of Russian officials, any and all evidence of that should be produced.
         4.   For the period from January 20, 2009 until the present, I wish to see all
                   documents, records, communications, and guidelines reflecting any plans
                   or efforts by the CIA to gain, cultivate or exercise influence over any U.S.
                   journalist or journalism entity. This request includes, but is not limited to,
                   documents or communications that reflect an attempt to insert CIA
                   personnel, contractors, or allies into U.S. media companies. This request
                   further includes, but is not limited to, documents reflecting payments (direct
                   or indirect) to U.S. journalists or journalism entities.
         5.   For the period from January 20, 2009 until the present, I wish to see all
                   documents, records, communications, and guidelines reflecting any plans
                   or efforts by the CIA to gain, cultivate or exercise influence over any U.S.
                   social media company (e.g., Facebook or Twitter) for purposes of
                   influencing its algorithms or the prevalence of (1) particular posts or
                   publications or (2) particular types of posts or publications. This request
                   includes, but is not limited to, documents or communications that reflect an
                   attempt to insert CIA personnel, contractors, or allies into such a company.




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           6. For the period from January 20, 2009 until the present, I wish to see all
                  documents, records, communications, and guidelines reflecting any plans
                  or efforts by the CIA to gain, cultivate or exercise influence over any U.S.
                  search engine company (e.g., Google) for purposes of influencing its
                  algorithms or the prevalence of search results. This request includes, but is
                  not limited to, documents or communications that reflect an attempt to insert
                  CIA personnel, contractors, or allies into such a company.
           7. For the period from January 20, 2009 until the present, I wish to see all
                  documents, records, communications, and guidelines reflecting any plans
                  or efforts by the CIA to surveil journalists and/or journalism companies in
                  the United States. This request includes, but is not limited to, (1) plans or
                  efforts to hack into the computer systems, online accounts, or electronic
                  devices of journalists or journalism companies in the United States, and (2)
                  any documents, records, or communications obtained as a result of such
                  hacking efforts. This request further includes, but is not limited to,
                  documents, records, or communications identifying (1) the CIA affiliates,
                  agents, employees or contractors involved in such activities, and (2) the
                  targets of any such activities.
           8. For the period from January 20, 2009 until the present, I wish to see all
                  documents, records, communications, and guidelines reflecting any plans
                  or efforts by the CIA to influence the contents of any entertainment
                  production in the United States, e.g., movies, television programs, radio
                  programs, podcasts, Netflix productions, etc.

   [Dkt. 5 at 22-24].

           June 11, 2020 – ODNI (Request #4)

           On June 11, 2020, Plaintiff submitted a FOIA request to ODNI seeking various records.9

   Specifically, Plaintiff requested:

           1. I request the opportunity to view all tangible evidence indicating whether the
                   2016 Data Breach was the result of (1) outside forces (e.g., Russian agents,
                   Pakistani agents, etc.) who hacked the servers from a remote location or (2)
                   an individual or individuals who were present at or inside DNC facilities
                   and copied the data onto a storage device. If, for example, ODNI possesses
                   any communications between Seth Rich and Julian Assange or Wikileaks
                   (e.g., from the National Security Agency, the United Kingdom’s
                   Government Communications Headquarters, or any other person or entity),
                   then those communications should be produced. If the ODNI has any
                   evidence whatsoever that the DNC servers were hacked externally or that


   9
     Defendants’ motion mistakenly refers to this as the “June 5, 2020 Request” [Dkt. 51 at 12]; however, the
   Government’s exhibits contain the same copy of the request as Plaintiff included in the amended complaint, which
   both indicate June 11, 2020 is the correct date of request [See Dkt. 51-4 at 16].


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                  DNC data was leaked from an internal source, that evidence should be
                  produced.
          2. Former CIA Director John Brennan testified that in the summer of 2016, he
                  convened a task force / working group involving the CIA, NSA and FBI to
                  investigate intelligence showing contact between Russian officials and
                  Trump affiliates. I wish to view all documents, records, and/or
                  communications that (1) identify the name and agency affiliation of each
                  member of the task force / working group as well as (2) the dates that each
                  such person began and ceased working with the group. I also wish to view
                  all documents, records, and/or communications indicating whether the task
                  force / working group fabricated or attempted to fabricate evidence of
                  collusion between Donald Trump (or his presidential campaign) and
                  Russian officials. If, for example, individuals from the task force tried to
                  create the false impression that Trump campaign officials were acting at the
                  behest of Russian officials, any and all evidence of that should be produced.
          3. All data, documents, records, or communications (electronic or otherwise)
                  created, received or obtained since January 1, 2016 that discuss or reference
                  Seth Conrad Rich (“Seth Rich”) or Aaron Nathan Rich (“Aaron Rich”).
          4. All data, documents, records, or communications regarding any person or entity’s
                  attempt to hack into Seth Rich’s electronic or internet accounts (e.g., email)
                  after his death.
          5. All data downloaded from all electronic devices that belonged to Seth Rich as
                  well as all data, documents, records or communications indicating how the
                  devices were obtained and who was responsible for downloading the
                  information.
          6. All data, documents, communications, records or other evidence indicating
                  whether Seth Rich, Aaron Rich, or any other person or persons were
                  involved in transferring data from the Democratic National Committee to
                  Wikileaks in 2016, either directly or through intermediaries. This request
                  includes, but is not limited to, any reports from CrowdStrike, Inc..
          7. All documents, records, or communications exchanged with Congress or any
                  other government agencies (or representatives of such agencies) since
                  January 1, 2016 regarding (1) Seth Rich’s murder or (2) Seth Rich’s or
                  Aaron Rich’s involvement in transferring data from the Democratic
                  National Committee to Wikileaks.

   [Dkt. 5 at 29-30].

          June 11, 2020 – DOJ (Request #5)

          On June 11, 2020, Plaintiff submitted a FOIA request to various components of DOJ

   seeking records related to investigations of former congressional IT support staffers. The request

   was submitted to OAG, NSD, CRA, OLA, EOUSA, and FBI. Specifically, Plaintiff requested:




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          1. Any and all records related to any investigations or preliminary investigations
                 involving former congressional IT support staffers Abid Awan, Imran
                 Awan, Jamal A wan, and Hina R. Alvi. As part of this request, searches
                 should of records [ sic] should include, but not be limited to, the FBI
                 automated indices, its older manual indices, and its Electronic Surveillance
                 (EL SUR) Data Management System (EDMS), as well as cross-referenced
                 files.
          2. Any and all records of communication sent to or from FBI employees, officials
                 or contractors involving the subjects in [the item above].

   [Dkt. 5 at 32-33].

          June 12, 2020 – NSA (Request #6)

          On June 12, 2020, Plaintiff submitted a FOIA request to NSA seeking records related to

   the 2016 Data Breach. Specifically, Plaintiff requested:

          1. I request the opportunity to view all metadata, communications (internal or
                  external), records, documents, reports or other evidence regarding whether
                  the National Security Agency (“NSA”), the Central Intelligence Agency
                  (“CIA”), any “Five Eyes” allies, and/or affiliates, agents, employees or
                  contractors of those agencies or any other government entity played a role
                  in inserting Russian “fingerprints” (e.g., “COZY BEAR” or “FANCY
                  BEAR”) into data from the 2016 Data Breach. In other words, the NSA
                  should produce all evidence indicating whether any U.S. Government or
                  “Five Eyes” entities, affiliates, agents, employees or contractors inserted or
                  fabricated evidence to make it appear that Russians or other third parties
                  were responsible for the 2016 Data Breach. This includes, for example, any
                  and all evidence that U.S. Government or “Five Eyes” entity, affiliate,
                  agent, employee, or contractor created or operated the “Guccifer 2.0” or
                  “DCLeaks” profiles or any other online profile used to promote or distribute
                  data from the 2016 Data Breach.
          2. I request the opportunity to view all tangible evidence reflecting the person,
                  persons, or entities involved in 2016 Data Breach. This request includes,
                  but is not limited to, evidence indicating whether the breach was the result
                  of (1) outside forces (e.g., Russian agents, Pakistani agents, etc.) who
                  hacked the servers from a remote location or (2) an individual or individuals
                  who were present at or inside DNC facilities and copied the data onto a
                  storage device. If, for example, NSA intercepted or obtained any
                  communications between Seth Rich and Julian Assange or Wikileaks (e.g.,
                  from the United Kingdom’s Government Communications Headquarters, or
                  any other person or entity), then those communications should be produced.
                  If the NSA has any evidence whatsoever that the DNC servers were hacked
                  externally or that DNC data was leaked from an internal source, that
                  evidence should be produced.



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          3. I request the opportunity to view all communications exchanged (either directly
                  or indirectly) between Seth Conrad Rich (“Seth Rich”) and/or Aaron Nathan
                  Rich (“Aaron Rich”) and the following: Julian Assange, Wikileaks, and/or
                  any agents or representatives of Wikileaks.

   [Dkt. 5 at 35-36].

          June 15, 2020 – NSD (Request #7)

          On June 15, 2020, Plaintiff submitted a FOIA request to NSD seeking records about the

   DNC email hack. Specifically, Plaintiff requested:

          1. All documents, records, communications, and other tangible evidence supporting
                  Gen. Demers’s claims to 60 minutes above, i.e., about Russian involvement
                  in obtaining the DNC emails in 2016.
          2. All documents, records, communications, and other tangible evidence relied on
                  by Gen. Demers, Adam Hickey, Sean Newell, and Heather Alpino in
                  support of their conclusions that Russians were responsible for obtaining
                  the DNC emails in 2016.
          3. All documents, records, communications, and other tangible evidence in the
                  possession or control of the National Security Division concerning Seth
                  Conrad Rich and/or Aaron Nathan Rich.
          4. All documents, records, communications, and other tangible evidence in the
                  possession or control of the National Security Division concerning other
                  entities or individuals who may have played a role in stealing, hacking,
                  leaking or improperly obtaining the DNC emails in 2016.
          5. All documents, records, communications, and other tangible evidence in the
                  possession or control of the National Security Division indicating whether
                  the DNC emails were hacked externally, leaked from a source inside the
                  DNC, or otherwise transmitted to third parties such as Wikileaks. If there
                  was one or more than one instance of hacking, leaking, or other
                  unauthorized transmission of DNC emails in 2016, please provide details
                  for each such incident, e.g., the dates, persons and entities involved, the data
                  that was hacked, leaked, or otherwise transmitted, and the means by which
                  it was hacked, leaked, or transmitted.
          6. All documents, records, communications, and other tangible evidence in the
                  possession or control of the National Security Division or the FBI regarding
                  whether Debbie Wasserman-Shultz or any other member of Congress was
                  blackmailed or extorted, whether directly or indirectly, as a result of
                  information procured by any of the following: Imran Awan, Abid Awan,
                  Jamal Awan, Hina Alvi, Rao Abbas, or anyone affiliated with the
                  government of Pakistan.

   [Dkt. 5 at 39-40].




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           June 18, 2020 – CIA, DOJ, NSA (Request #8)

           On June 18, 2020, Plaintiff submitted a FOIA request to CIA, DOJ, and NSA seeking

   records related to surveillance of Edward Butowsky or Matt Couch, as well as CIA Director David

   Petraeus. Specifically, Plaintiff requested:

           1. I request the opportunity to view all documents, records, communications and/or
                   other tangible evidence reflecting or pertaining to surveillance of Edward
                   Butowsky of Texas or Matt Couch of Arkansas. The term “surveillance”
                   includes, but is not limited to, any attempt to hack into the computers,
                   phones, other electronic devices, and/or online accounts of Mr. Butowsky
                   or Mr. Couch. If any information obtained by surveillance was relayed to
                   third parties, that information should be produced for inspection.
           2. I request the opportunity to view all documents, records, communications and/or
                   other tangible evidence pertaining to whether former Central Intelligence
                   Agency Director David Petraeus mishandled classified information or sold
                   such information during his tenure as CIA director. This request includes,
                   but is not limited to, documents, records, communications and/or other
                   tangible evidence in the possession of the Office of the Inspector General
                   of the CIA and/or the Office of the Intelligence Community Inspector
                   General. This request further includes, but is not limited to, any draft
                   indictments, draft arrest warrants, actual arrest warrants, and/or records of
                   arrest.

   [Dkt. 5 at 42-43].

   Summary of Agency Responses & Related Procedural Background

           EOUSA Responses (October 26, 2018 & June 11, 2020 Requests)

           October 26, 2018 Request

           EOUSA acknowledged receipt of Plaintiff’s October 26, 2018 request and assigned it

   request number EOUSA-2019-000496 [Dkt. 51 at 17]. Because Plaintiff did not submit an

   authorization of release for the individuals identified in this request, 10 on November 2, 2018,

   EOUSA directed the United States Attorney’s Office for the District of Columbia (“USAO-DC”)



   10
     The Cain Declaration explains “EOUSA Policy dictates that if a requester obtains the written authorization and
   consent of the third parties for release of records, the requester may submit a new request for the documents
   accompanied with the written authorization”; however, no such authorization was ever received [Dkt. 51-2 at 3].


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   to conduct a search for any public records responsive to the October 26 request [Dkt. 51 at 17].

   EOUSA submitted a second request to USAO-DC on August 14, 2020, and on April 16, 2021,

   USAO-DC provided records to EOUSA response to the October 26, 2018 request [Dkt. 51 at 17].

            EOUSA issued its final response on June 25, 2021, and released eight pages in full and ten

   in part [Dkts. 51 at 17; 51-2 at 3, 15-17]. The Vaughn index11 for this request identifies the two

   records; the document released in part is the Unsealed Affidavit in Support of Criminal Complaint

   Charging Imran Awan, and certain information was withheld pursuant to Exemption 6 and

   Exemption 7(C) [Dkt. 51-2 at 10]. Certain information was withheld by way of redaction from

   this document pursuant to Exemptions 6 and 7(C) because the information consists of third-party

   names, personal email addresses, and DOJ employee names [Dkt. 51-2 at 5-8].

            June 11, 2020 Request

            EOUSA avers it learned of this request a result of the instant litigation. The request “was

   submitted as a follow-up request” [Dkt. 51 at 18]. It was assigned request number EOUSA-2020-

   004715. On January 21, 2021, EOUSA issued a Misdirected Request Letter explaining that the

   records requested is not information maintained by EOUSA but by FBI. EOUSA informed

   Plaintiff it forwarded the request to the FBI and to direct any contacts to FBI [Dkt. 51-2 at 19-20].

   The Misdirected Request Letter is the final action as to this request [Dkt. 51-2 at 19]. Defendants

   aver “Plaintiff has indicated that he is not challenging EOUSA’s disposition of the June 11, 2020,

   request” [Dkt. 51 at 18].12




   11
      “A Vaughn index describes documents identified as responsive to a FOIA request but not produced and explains
   why they have been withheld.” Jobe v. Nat’l Transp. Safety Bd., 1 F.4th 396, 402 n.5 (5th Cir. 2021) (citing Cooper
   Cameron Corp. v. U.S. Dep't of Labor, 280 F.3d 539, 544 n.12 (5th Cir. 2002); Vaughn v. Rosen, 484 F.2d 820, 827-
   28 (D.C. Cir. 1973)).
   12
      The Court is uncertain of where this representation is reflected in the record, if at all; however, Plaintiff does not
   challenge this claim in response.


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            NSD (October 26, 2018, June 11, 2020, June 15, 2020 & June 18, 2020 Requests)

            Plaintiff submitted a total of four requests to NSD, the first on October 26, 2018, the second

   on June 11, 2020, the third on June 15, 2018, and the fourth on June 18, 2020. Defendants note

   the first request, dated October 26, 2018, and the third request, dated June 15, 2020, sought the

   same records [Dkt. 51 at 18].13

            June 11, 2020 Request

            On September 2, 2020, NSD acknowledged receipt of Plaintiff’s June 11, 2020 request and

   assigned it tracking number NSD 20-341 [Dkts. 51 at 18; 52 at 23-24]. In this response, NSD

   informed Plaintiff it does not maintain FBI records and sought further clarification of the request,

   indicating that if no clarification was received within 30 days, the request would be

   administratively closed [Dkts. 51 at 18-19; 52 at 23-24]. No such response was received, and NSD

   20-341 was administratively closed [Dkt. 51 at 19].

            June 15, 2020 Request & October 26, 2018 Request

            On November 5, 2020, NSD acknowledged receipt of Plaintiff’s June 15, 2020 request and

   assigned it tracking number NSD 20-333 [Dkts. 51 at 19; 52 at 26-27]. NSD issued an interim

   response on March 9, 2021, releasing one 40-page record in part, with redactions pursuant to

   Exemption 6 [Dkt. 52 at 3, 29-70]. On August 30, 2021, NSD issued a final response, releasing a

   single, additional 149-page record, with redactions pursuant to Exemption 6 [Dkts. 52 at 3, 71-

   123; 52-1 at 1-99].




   13
     The declaration of Findlay mistakenly identifies the October 26 first request and the June 18 fourth request as
   seeking the same information [Dkt. 52 at 2]. Review of the exhibits confirms the motion correctly states the
   duplicative requests are the October 26 first request and the June 15 third request [Dkt. 51 at 18; compare Dkt. 52 at
   10-11, with Dkt. 52 at 16-18].


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          June 18, 2020 Request

          On November 16, 2021, NSD issued a final response to the June 18, 2020 request, issued

   tracking number NSD 20-338 [Dkt. 52 at 3]. This request has two parts; NSD released one record

   in full in response to part two of the request [Dkts. 52 at 3; 52-1 at 101-22]. NSD also informed

   Plaintiff that it had found one additional record that originated in the Office of the United States

   Attorney for the Eastern District of Virginia, and referred this component of part two of the request

   to EOUSA for review and response [Dkt. 51 at 19; 52-1 at 102]. In response to part one of the

   request, NSD issued a Glomar response, declining to confirm or deny the existence of any records

   to this part of the request pursuant to Exemption 1, as the information is properly classified

   pursuant to Executive Order 13526 [Dkts. 52 at 3-7; 52 at 3; 52-1 at 101-02].

          NSA (October 29, 2018 & June 12, 2020 Requests)

          October 29, 2018 Request

          On October 31, 2018, NSA acknowledged receipt of Plaintiff’s October 29, 2018 request

   and assigned it Case Number 105508 [Dkts. 51 at 20; 51-3 at 34-35]. On February 2, 2021, NSA

   issued its response and produced five records released in part, totaling thirteen pages, and six

   records totaling sixteen pages, withheld in full pursuant to Exemptions 1, 3, 5, and 6 [Dkts. 51 at

   20; 51-3 at 36-38]. The Vaughn index for this request identifies the eleven total records and the

   specific Exemption(s) that apply to each record either released in part or withheld in full [Dkt. 51-

   3 at 74-75]. Certain information was withheld as properly classified under Executive Order 13526,

   specifically Section 1.4(c), as this information remains classified TOP SECRET [Dkts. 51 at 20;

   51-3 at 37]. This same information is protected by statute, thus Exemption 3 also exempts it from

   release, and the letter identifies three applicable statutes: 18 U.S.C. § 798, 50 U.S.C. § 3024(i),

   and Section 6 of Public Law 86-36 (50 U.S.C. § 3605) [Dkts. 51 at 20; 51-3 at 37-38]. Certain




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   information was withheld pursuant to Exemption 5, specifically regarding inter-agency or intra-

   agency memoranda or letters that is protected as part of the deliberative process privilege [Dkts. 51

   at 20; 51-3 at 38].14          Finally, certain personal identifying information was withheld under

   Exemption 6 based on NSA’s determination that the individual’s privacy interests outweigh any

   public interest in the information. On February 10, 2022, NSA reissued the documents produced

   in response to the October 29 request to correct the Exemptions invoked, producing the documents

   again with the proper redactions cited [Dkts. 51 at 20; 51-3 at 63-73]. The Vaughn index reflects

   the updated production and Exemptions [Dkt. 51-3 at 74-75].

            June 12, 2020 Request

            On June 19, 2020, NSA sent an initial response to the June 12 request, assigning it Case

   Number 109745 [Dkts. 51 at 21; 51-3 at 40-41]. On January 20, 2021, NSA issued a Glomar

   response based on Exemptions 1 and 3 of the FOIA, citing Executive Order 12333 and executive

   Order 13526, Section 1.4(c) [Dkts. 51 at 21; 51-3 at 42-43]. On February 11, 2021, Plaintiff

   appealed NSA’s Glomar response [Dkts. 51 at 21; 51-3 at 45].15

            CIA (May 28, 2020 & June 18, 2020 Requests)

            On June 15, 2020, CIA acknowledged receipt of Plaintiff’s May 28, 2020 request and

   assigned it Reference Number F-2020-01504 [Dkts. 51 at 21; 51-1 at 108]. Plaintiff’s June 18,

   2020 request was assigned Reference Number F-2020-01646 [See Dkt. 51-1 at 115]. On June 4,

   2021, CIA issued an interim response to both requests [Dkts. 51 at 21; 51-1 at 115-16]. The interim

   response letter was returned to CIA unclaimed [Dkts. 51 at 21; 51-1 at 118-20].



   14
      Although NSA asserted Exemption 5 in its response letter, “after further review, NSA determined that Exemption
   5 was inappropriate” [Dkt. 51 at 20]. However, Defendants contend this information was still properly redacted
   pursuant to Exemption 1 and Exemption 3, specifically under Section 6 of the National Security Agency Act (NSAA)
   (Pub. L. No. 86-36, codified at 50 U.S.C. § 3605) [Dkt. 51 at 20 & n.2].
   15
      Neither party states the result of this appeal or explains the significance of an appeal to consideration of the instant
   Motion.


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            On July 13, 2021, CIA issued its final response [Dkt. 51 at 21; 51-1 at 121-23]. CIA

   submitted a Vaughn index describing each document, the release decision, and the Exemptions

   invoked [Dkt. 51-1 at 41-102]. In response to requests denoted Items 1(a), 1(b), 1(c)(3), 1(d)-(h),

   and 2(a), CIA issued a Glomar response [Dkts. 51 at 21; 51-1 at 123].16 Exemption 1 was invoked

   pursuant to Executive Order 13526, Section 3.6(a), on the basis the intelligence sources and

   methods are classified, as well as Exemption 3, as the information is protected by statute,

   specifically Section 6 of the Central Intelligence Agency Act of 1949 (“CIAA”), codified as

   amended at 50 U.S.C. § 3507, and Section 102A(i)(l) of the National Security Act of 1947,

   codified as amended at 50 U.S.C. § 3024(i)(l) [Dkts. 51 at 21; 51-1 at 123]. With regard to Items

   1(c)(1)-(2),17 CIA withheld six responsive documents in full, citing Exemptions 1, 3, 5, and 6 as

   the basis for withholding [Dkts. 51 at 21; 51-1 at 123]. As for Exemption 3, the statutes identified

   are the CIAA (50 U.S.C. § 3507), and Section 102A(i)(l) of the National Security Act of 1947 (50

   U.S.C. § 3024(i)(l)) [Dkt. 51-1 at 123].              Regarding Item 2(b), CIA found 161 responsive

   documents of which 157 were withheld in full, citing Exemptions 1, 3, 5, 6, 7(C), and 7(E) as the

   basis for withholding [Dkts. 51 at 21-22; 51-1 at 123]. Four documents were determined to contain

   segregable information with redactions pursuant to Exemptions 1, 3, 5, 6, 7(C), and 7(E) [Dkt. 51-

   1 at 123]. For Exemption 3, the statutes cited are Section 6 of the CIAA of 1949, 50 U.S.C. §

   3507, noted as exemption “(b)(3)CIAAct”, and Section 102A(i)(l) of the National Security Act of

   1947, noted as exemption “(b)(3)NatSecAct” on the documents released [Dkt. 51-1 at 123]. The

   response should have also indicated these redactions were made pursuant to Exemption 7(D), as




   16
      Defendants’ motion refers to these components as “Parts 1, 2, 3(3), 4, 5, 6, 7, and 8 of the May 2020 CIA Request,
   and Part 1 of the June 2020 CIA Request” [Dkt. 51 at 22].
   17
      CIA’s response letter denotes these as Items 1(c)(1) and 1(c)(2); Defendants’ motion refers to them as request 3(1)
   and 3(2) of the May 28, 2020 request [Dkts. 51 at 21; 51-1 at 123]. They refer to the same components of the requests.


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   explained in the Blaine Declaration submitted by CIA [Dkts. 51 ta 22; 51-1 at 8].18 Additional

   documents belonging to another agency were also located, and CIA referred these documents to

   the appropriate agency as a direct request for Plaintiff [Dkt. 51-1 at 123].

           ODNI (June 11, 2020 Request)

           On July 6, 2020, ODNI acknowledged receipt of Plaintiff’s June 11, 2020 request and

   assigned it tracking number DF-2020-00296 [Dkts. 51 at 22; 51-4 at 19]. On September 1, 2021,

   ODNI issued its final response indicating that nineteen documents were withheld in full, four

   documents were withheld in part, and three documents were referred to other agencies [Dkts. 51

   at 22; 51-4 at 21-22]. ODNI submitted a Vaughn index describing each document, the release

   decision, and the Exemptions invoked [Dkt. 51-4 at 24-25]. Regarding ODNI’s review, of the four

   documents released in part and nineteen documents withheld in full, ODNI cited Exemption 1,

   specifically information classified pursuant to Executive Order 13526, Section 1.4(c); Exemption

   3, identifying relevant statutes as the National Security Act of 1947, as amended, 50 U.S.C. §

   3024(i) and 50 U.S.C. § 3024(m), which protects intelligence sources and methods and identifying

   information of ODNI personnel respectively; Exemption 5 which protects inter-agency

   communications subject to legal privileges; and Exemption 6 on the basis that release of the

   information would constitute an unwarranted invasion of privacy [Dkt. 51-4 at 21]. ODNI further

   indicated “other agencies reviewed their equities within the documents and their withholdings” are

   as follows:

           •        The Department of Homeland Security withheld information pursuant to
                    FOIA exemption (b)(1), Section 1.4(c) of E.O. 13526.
           •        The Defense Intelligence Agency withheld information pursuant to FOIA
                    exemptions (b)(1) and (b)(3) and Sections 1.4(a), (b), and (c) of E.O. 13526.
                    DIA (b)(3) withholdings were pursuant to statute 50 U.S.C. § 3024(i).


   18
     On June 4, 2021, CIA mailed a CD with the three documents produced but it was returned unopened [Dkt. 51-1 at
   123]. The documents were sent again as an enclosure to the final response letter.


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           •      U.S. European Command (EUCOM) withheld information pursuant to
                  FOIA exemptions (b)(1), (b)(3), and (b)(5) and section 1.4(c) of E.O. 13526.
                  EUCOM’s (b)(3) withholding were pursuant to statute 10 U.S.C. § 130(c),
                  which protects sensitive information of foreign governments and
                  international organizations.
           •      The Federal Bureau of Investigation (FBI) withheld information pursuant
                  to FOIA exemptions (b)(1), (b)(3), (b)(5), (b)(6), (b)(7)(A), (b)(7)(C),
                  (b)(7)(D), and (b)(7)(E) and Section 1.4(c) of E.O. 13526. FBI’s (b)(3)
                  withholdings were pursuant to statute 50 U.S.C. § 3024(i). Exemption
                  (b)(7)(A) applies to investigatory records, release of which could interfere
                  with law enforcement proceedings; (b)(7)(C) applies to investigatory
                  records, release of which could constitute an unwarranted invasion of the
                  personal privacy of others; (b)(7)(D) applies to investigatory records release
                  of which could disclosure the identity of a confidential source; and (b)(7)(E)
                  applies to investigatory records, release of which would disclose
                  investigative techniques and procedures.
           •      That Naval Criminal Investigative Service (NCIS) withheld information
                  pursuant to FOIA exemption (b)(1), Sections 1.4(c) and (d) of E.O. 13526.
           •      The Department of State withheld information pursuant to FOIA
                  Exemptions (b)(1) and (b)(6) and Sections 1.4(b), (c), and (d) of E.O.
                  13526.

   [Dkt. 51-4 at 21-22]. Additional documents belonging to another agency were also located, and

   ODNI referred these documents to the appropriate agency as a direct request for Plaintiff [Dkt. 51-

   4 at 22].

           OIP on behalf of OLA/OAG (October 26, 2018 & June 11, 2020 Requests)

           Defendants aver that OIP, on behalf of the requests made to OIG and OLA within DOJ,

   issued “no records” responses to both the October 26, 2018 and June 11, 2020 requests, and that

   “Plaintiff has indicated that he is not challenging OIP’s searches” and the “no records” responses

   to both [Dkt. 51 at 22].

           CRM (October 26, 2018 & June 11, 2020 Requests)

           October 26, 2018 Request

           Defendants aver Plaintiff has conceded exhaustion as to this request [Dkt. 51 at 22] (citing

   ECF No. 28). On May 25, 2021, the Parties submitted a Joint Stipulation Regarding Status or




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   Requests to United States Department of Justice Criminal Division, stating “[a]s to the October

   26, 2018 request, Plaintiff concedes exhaustion and agrees that this claim is due to be dismissed”

   [Dkt. 28 at 1]. At the time of that status report, DOJ-CRM conceded however that, as to the June

   11, 2020 request, this claim is properly before the Court” [Dkt. 28 at 1].

          June 11, 2020 Request

          Defendants aver that CRM later issued a “no records” response to the June 11, 2020

   request, and that “Plaintiff has indicated that he is not challenging CRM’s search” or its “no

   records” response to this request [Dkt. 51 at 22].

                  NON-FBI DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

          Defendants move for summary judgment on each of Plaintiff’s non-FBI claims under

   FOIA. More specifically, Defendants urge each agency conducted (1) reasonable searches,

   (2) properly issued Glomar responses where applicable, and (3) properly withheld information

   pursuant to FOIA’s Exemptions where applicable.

   Conceded Grounds – Summary Judgment for Defendants

          Because Plaintiff concedes or abandons certain claims against specific agencies, or

   otherwise does not address a properly invoked Exemption, summary judgment on them is proper.

   See Rasco v. Potter, No. H-05-0034, 2007 WL 9758165, at *2 (S.D. Tex. Jan. 4, 2007) (granting

   summary judgment in favor of the defendant on the claims the plaintiff abandoned), aff’d, 265 F.

   App’x 279 (5th Cir. 2008). Thus, at the outset of its analysis, the Court notes Plaintiff concedes

   its claims against OIP on behalf of OLA/OAG within DOJ and has not contested the “no records”

   responses; therefore, summary judgment is proper for DOJ component entities OLA and OAG.

   Similarly, summary judgment is proper for CRM; Plaintiff concedes exhaustion as to his first

   request, and Defendants represent Plaintiff does not challenge CRM’s “no records” response to




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   the second request. Summary judgment should be granted to CRM.

   The Freedom of Information Act

           “Congress created FOIA ‘to pierce the veil of administrative secrecy and to open agency

   action to the light of public scrutiny.’” Shapiro v. CIA, 170 F. Supp. 3d 147, 153 (D.D.C. 2016)

   (quoting ACLU v. U.S. Dep’t of Justice, 655 F.3d 1, 5 (D.C. Cir. 2011)). Despite this broad

   mandate, FOIA contains a set of exceptions to the general obligation to provide government

   records to the public. 5 U.S.C. § 552(b). Upon receiving a FOIA request, an agency must disclose

   all responsive records to the requestor unless those records fall within one of nine statutory

   exemptions. 100Reporters v. U.S. Dep’t of State, No. CV 19-1753 (RDM), 2022 WL 1223709, at

   *4 (D.D.C. Apr. 26, 2022); see Jobe v. Nat’l Transp. Safety Bd., 1 F.4th 396, 403 (5th Cir. 2021),

   cert. denied, 142 S. Ct. 757 (2022). “These exemptions are in place ‘to balance the public’s interest

   in governmental transparency against the legitimate governmental and private interests [that] could

   be harmed by release of certain types of information.’” Shapiro, 170 F. Supp. 3d at 153 (quoting

   United Techs. Corp. v. DOD, 601 F.3d 557, 559 (D.C. Cir. 2010)) (cleaned up). Nonetheless,

   “FOIA mandates a strong presumption in favor of disclosure, and its statutory exemptions, which

   are exclusive, are to be narrowly construed.” Id. (quoting Nat’l Ass’n of Home Builders v. Norton,

   309 F.3d 26, 32 (D.C. Cir. 2002)) (cleaned up).

      I.      Reasonable Searches & Adequacy of Declarations

           When the Government moves for summary judgment, a threshold matter is whether the

   agency fielding the request conducted a reasonable search for responsive records. “An agency’s

   search for documents in response to a FOIA request is adequate if it is ‘beyond material doubt that

   its search was reasonably calculated to uncover all relevant documents.’” Jackson v. U.S. Dep’t

   of Just., 270 F. Supp. 3d 90, 94 (D.D.C. 2017) (quoting Ancient Coin Collectors Guild v. U.S.




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   Dep’t of State, 641 F.3d 504, 514 (D.C. Cir. 2011)) (cleaned up). When courts “consider the

   adequacy of a search in response to a FOIA request, the burden is on the agency to demonstrate

   that it made a ‘good faith effort to conduct a search ... using methods which can be reasonably

   expected to produce the information requested.’” DiBacco v. Dep’t of the Army, 926 F.3d 827,

   832 (D.C. Cir. 2019) (quoting Oglesby v. U.S. Dep’t of Army, 920 F.2d 57, 68 (D.C. Cir. 1990));

   Batton v. Evers, 598 F.3d 169, 176 (5th Cir. 2010) (quoting the same). “The adequacy of an

   agency’s search for documents under FOIA ‘is judged by a standard of reasonableness and

   depends, not surprisingly, upon the facts of each case.’” Negley v. U.S. Dep’t of Just., 305 F. Supp.

   3d 36, 43-44 (D.D.C. 2018) (quoting Weisberg v. Dep’t of Just., 745 F.2d 1476, 1485 (D.C. Cir.

   1984)).

             “To demonstrate that it has performed an adequate search, an agency must submit a

   reasonably detailed affidavit describing the search.” Jackson, 270 F. Supp. 3d at 95 (citing

   Oglesby, 920 F.2d at 68). “That showing can be made through declarations that detail ‘what

   records were searched, by whom, and through what process.’” Am. Oversight v. U.S. Dep’t of

   Just., 401 F. Supp. 3d 16, 23 (D.D.C. 2019) (quoting Steinberg v. U.S. Dep’t of Justice, 23 F.3d

   548, 552 (D.C. Cir. 1994)). As long as the agency “explain[s] ‘in reasonable detail the scope and

   method of the search conducted,’” the declaration “‘will suffice to demonstrate compliance’ with

   FOIA.” Kidd v. Dep’t of Just., 362 F. Supp. 2d 291, 295 (D.D.C. 2005) (quoting Perry v. Block,

   684 F.2d 121, 127 (D.C. Cir. 1982)). Furthermore, “[a]gency affidavits—so long as they are

   ‘relatively detailed and non-conclusory’—are ‘accorded a presumption of good faith, which cannot

   be rebutted by ‘purely speculative claims about the existence and discoverability of other

   documents.’” Taylor Energy Co. LLC v. U.S Dep’t of Interior Bureau of Ocean Energy Mgmt.,

   271 F. Supp. 3d 73, 86 (D.D.C. 2017) (quoting Mobley v. CIA, 806 F.3d 568, 581 (D.C. Cir. 2015)).




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   “Only where ‘a review of the record raises substantial doubt, particularly in view of well defined

   requests and positive indications of overlooked materials,’ should summary judgment be denied.”

   Id. (quoting Iturralde v. Comptroller of Currency, 315 F.3d 311, 314 (D.C. Cir. 2003)); DiBacco

   v. Dep’t of the Army, 926 F.3d at 832 (citing Valencia–Lucena v. U.S. Coast Guard, 180 F.3d 321,

   326 (D.C. Cir. 1999)).

          Defendants urge the searches by EOUSA, NSA, CIA, and ODNI are adequate, and the

   declarations submitted on behalf of each agency describe “in detail the particular records searched

   and the search methods used to locate records responsive to the particular request” [Dkt. 51 at 26-

   32].

          EOUSA Adequacy of Search

          EOUSA submits Kara Cain’s declaration to substantiate the adequacy of its search [Dkt. 51

   at 26-27]. The Cain Declaration explains that any records pertaining to a criminal investigation of

   Imran Awan, Abid Awan, Jamal Awan, Hina Alvi, Rao Abbas, and Seth Rich would be maintained

   in the United States Attorney’s Office where any such prosecutions took place, which in this case

   is the U.S. Attorney’s Office for the District of Columbia (“USAO-DC”) [Dkts. 51 at 26; 51-2 at

   1-3]. On November2, 2018, EOUSA directed USAO-DC to conduct a public records search

   responsive to Plaintiff’s request [Dkt. 51-2 at 2-4]. USAO-DC conducted a search “initiated by

   reviewing the online case management system using the names and subject matter provided in the

   original request” using the online tracking system used by USAOs, known as CaseView [Dkts. 51

   at 27; 51-2 at 4-5]. The CaseView database “is used to track cases and retrieve files related to

   cases and investigations by using district court case numbers, defendants’ name, and the internal

   number assigned by each USAO” [Dkt. 51-2 at 5]. After a search of CaseView, on April 16, 2021,

   USAO-DC provided EOUSA’s FOIA office with unsealed, public records responsive to the




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   request [Dkt. 51-2 at 5]. Plaintiff does not contest the adequacy of the search by EOUSA

   specifically, instead challenging whether the withholdings are proper [Dkt. 59 at 9-10], which the

   Court will consider together with Plaintiff’s other challenges to the FOIA Exemptions.

          NSA Adequacy of Search

          NSA submits Linda M. Kiyosaki’s declaration to substantiate the adequacy of its search

   [Dkt. 51 at 27-29]. The Kiyosaki Declaration states NSA personnel from NSA’s Office of General

   Counsel (“OGC”) directed and assisted in the search for responsive records. NSA’s OGC

   determined that NSA’s Legislative, State, Local, and Academic Engagement Office (“LSLA”)

   “was the most likely NSA organization to possess responsive records, to the extent responsive

   records existed, and that no other components of NSA were reasonably likely to possess additional

   materials responsive to Plaintiff’s request” [Dkts. 51 at 27; 51-3 at 9]. Regarding Plaintiff’s

   October 29, 2018 request, NSA’s OGC directed LSLA to search the office’s records “in all places

   where records responsive to the October 2018 FOIA request were most likely to be found” and

   recommended LSLA search its records for “[e]ach of the 12 names as written” as well as

   “[v]ariations on each of the 12 names including: last name only, first and last name, and first,

   middle (if known), and last name” [Dkt. 51-3 at 9-10]. NSA’s OGC reviewed all potentially

   responsive records from LSLA to “determine if they were, in fact, responsive to Plaintiff’s request”

   [Dkt. 51-3 at 10]. A second level of review of review by NSA’s OGC was conducted, again for

   responsiveness and segregability, “ultimately determining that there were eleven records

   responsive to Plaintiff’s October 2018 FOIA request” [Dkt. 51-3 at 10]. In regard to Plaintiff’s

   June 12, 2020 Request, NSA issued a Glomar response, “explaining that the fact of the existence

   or nonexistence of responsive records was currently and properly classified in accordance with

   E.O. 13526 and was thus exempt from disclosure based upon Exemption 1” [Dkts. 51 at 21; 51-3




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   at 8]. Plaintiff does not contest the adequacy of the search by NSA specifically, instead challenging

   whether the Glomar response was proper and whether the withholdings are proper under the

   Exemptions cited [Dkt. 59 at 4-8]. These challenges will be addressed together with the Court’s

   analysis of Defendants’ Glomar responses and the Exemptions invoked.

           CIA Adequacy of Search

           CIA submits Vanna Blaine’s declaration to substantiate the adequacy of its search [Dkt. 51

   at 29-30]. Blaine is an Information Review Officer for the Litigation Information Review Office

   at CIA [Dkt. 51-1 at 1]. CIA issued one Final Response addressing both of Plaintiff’s two FOIA

   requests, which the Blaine Declaration refers to as the “May 2020 CIA Request” (Plaintiff’s

   May 28, 2020 request) and the “June 2020 CIA Request” (Plaintiff’s June 18, 2020 request)

   [Dkt. 51 at 29; 51-1 at 4-8]. CIA searched for and processed documents responsive to parts 3(1)

   and 3(2) of the May 2020 CIA Request and part 2 of the June 2020 CIA Request [Dkt. 51-1 at 7-

   8]. The Blaine Declaration summarizes the requests it searched as follows:

           The CIA processed documents in response to parts 3(1) and 3(2) of the May 2020
           CIA Request. These requests relate to the task force/ working group convened by
           former CIA Director John Brennan. In particular, parts 3(1) and 3(2) request
           records that the CIA “(1) identify the name and agency affiliation of each member
           of the task force/ working group as well as (2) the dates that each such person began
           and ceased working with the group.” The CIA also processed documents in
           response to part 2 of the June 2020 CIA Request, which requested records
           “pertaining to whether former Central Intelligence Agency Director David Petraeus
           mishandled classified information or sold such information during his tenure as
           CIA director.”

   [Dkt. 51-1 at 17].19 CIA first “identified the offices that were most likely to maintain responsive

   Materials,” which were “the Office of the Director, the Office of Congressional Affairs, the Office

   of the Inspector General (OIG), the Office of General Counsel, and the Office of Security”



   19
     Plaintiff does not argue the CIA’s search is inadequate or unreasonable on the grounds it overly narrowed the scope
   of its search related to these requests.


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   [Dkt. 51-1 at 17]. CIA “[a]gency professionals” conducted searches “spanning the pertinent time

   frame for each of these two requests,” and these searches “included emails, internal share drives,

   relevant databases, and paper files” [Dkt. 51-1 at 17-18]. Additionally, CIA also “queried

   CADRE, the Agency’s repository for records that have been previously disclosed to the public”

   [Dkt. 51-1 at 18]. CIA identified 6 responsive records to parts 3(1) and 3(2) of the May 2020 CIA

   Request and 161 records responsive to part 2 of the June 2020 CIA Request, and the withholdings

   invoked are explained by the Blaine Declaration and documented in CIA’s Vaughn Index [Dkt. 51-

   1 at 18]. Regarding Plaintiff’s remaining requests, CIA issued a Glomar response [Dkt. 51-1 at 8-

   16.]. Similar to NSA and EOUSA’s responses, Plaintiff does not contest the adequacy of the

   search by CIA specifically, instead challenging whether the Glomar response was proper and

   whether the withholdings are proper under the Exemptions cited [Dkt. 59 at 4-8].

          ODNI Adequacy of Search

          ODNI submits Gregory M. Koch’s declaration to substantiate the adequacy of its search

   [Dkt. 51 at 30-31]. Koch is Chief of the Information Management Office (“IMO”) of ODNI, and

   IMO is the entity responsible for processing FOIA requests made to ODNI [Dkt. 51-4 at 1-5]. The

   Koch Declaration explains that it first “assesses whether intelligence information is sought and if

   the acknowledgment of whether or not ODNI possesses such information would itself reveal

   classified information or intelligence sources or methods” – that is, whether to issue a Glomar

   response [Dkt. 51-4 at 5]. Where ODNI can conduct a search for responsive records, IMO tasks

   the relevant ODNI component entities and records custodians “who are likely to have responsive

   records to conduct a search” [Dkt. 51-4 at 5]. Notably, as the Director of National Intelligence is

   head of the intelligence community, ODNI records often “include information from other agencies

   who contribute to the all-source intelligence often provided by the DNI,” and accordingly, “when




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   IMO locates a responsive record that contains another agency’s information, IMO sends the record

   to that agency for consultation to help determine if the other agency’s information is exempt from

   disclosure” [Dkt. 51-4 at 5]. Because this consultative process allows other agencies to review

   and make determination as to their own information, responsive documents produced by ODNI

   “may include ODNI’s and other agencies’ redactions” [Dkt. 51-4 at 5].

            More specifically, IMO identified two ODNI components, Mission Integration and the

   National Counterintelligence and Security Center, to search for potentially responsive records, and

   the Koch Declaration explains these entities were chosen because they are “most likely to have

   information responsive to the Request” [Dkt. 54-1 at 6]. Because the documents ODNI identified

   as being responsive included information from other agencies, ODNI consulted with the

   Department of Homeland Security, the Defense Intelligence Agency, U.S. European Command,

   the FBI, the Naval Criminal Investigative Service, and the Department of State to identify and

   apply the relevant and appropriate Exemptions on behalf of these agencies [Dkt. 54-1 at 7]. As

   with each other agency, Plaintiff does not contest the adequacy of the search by ODNI specifically,

   instead challenging whether the withholdings are proper [Dkt. 59 at 6-9], which the Court will

   consider together with Plaintiff’s other challenges to the FOIA Exemptions.

            NSD Adequacy of Search

            NSD submits Patrick N. Findlay’s declaration to substantiate the adequacy of its search

   [Dkt. 52 at 1-8]. Defendants do not brief whether the Findlay Declaration addresses the scope or

   manner of the search for responsive records to Plaintiff’s June 15, 2020 request, or to part 2 of the

   June 18, 2020 request [See Dkt. 52 at 3].20 Despite the lack of briefing by either party as to the

   adequacy NSD’s search, the Court is obligated to review the record to determine if summary


   20
     NSD asserted a Glomar response to part 1 of the June 18 request, but it conducted a records search for part 2, related
   to the investigation of General Petraeus [Dkt. 52-1 at 101-02].


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   judgment for Defendants is proper as to FOIA inquires to NSD. See Am. Oversight v. U.S. Gen.

   Servs. Admin., 486 F. Supp. 3d 306, 312 (D.D.C. 2020) (quoting Tokar v. DOJ, 304 F. Supp. 3d

   81, 94 n.3 (D.D.C. 2018)). (“Even when the adequacy of a search, use of a particular exemption,

   or the segregability requirement is not challenged, ‘the Court still has an independent duty to

   determine for itself whether the record and any undisputed material facts justify granting summary

   judgment.’”).

          The Court has reviewed the Findlay Declaration and finds it lacks sufficient detail to show

   an adequate search. See Elec. Priv. Info. Ctr. v. DOJ Crim. Div., 82 F. Supp. 3d 307, 315 (D.D.C.

   2015) (citation omitted) (citing Iturralde v. Comptroller of Currency, 315 F.3d 311, 315 (D.C. Cir.

   2003)) (“Instead of explaining how its search was conducted, NSD’s ex parte declaration focuses

   on the fruits of its search. However, the adequacy of a FOIA search is not determined by the fruits

   of the search, but by the appropriateness of the methods used to carry out the search.”). “Agency

   affidavits that ‘do not denote which files were searched, or by whom, do not reflect any systematic

   approach to document location, and do not provide information specific enough to enable [the

   requester] to challenge the procedures utilized’ are insufficient to support summary judgment.”

   Schaerr v. DOJ, 435 F. Supp. 3d 99, 120 (D.D.C. 2020) (quoting Weisberg v. DOJ, 627 F.2d 365,

   371 (D.C. Cir. 1980)).

          Regarding the June 15 request, Plaintiff requested records related to six distinct topics.

   NSD sent a letter to Plaintiff requesting it narrow the scope of three of the six specific items

   because they “are too broad for us to craft a search for records” or to determine whether a Glomar

   response is appropriate [Dkt. 52 at 27]. More specifically, NSD stated:

          Portions of your request are too broad in scope to identify any responsive records.
          Specifically, items (b), (d), and (f) are too broad for us to craft a search for records
          or to conclusively determine that we would neither confirm nor deny their existence




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          without conducting a search. . . . Please provide your response regarding items (b),
          (d), and (e) within 30 days of the date of this letter clarifying these items.

   [Dkt. 52 at 27]. However, NSD’s letter represented that it would conduct searches for records

   regarding three other items, (a), (c), and (f) [Dkt. 52 at 27]. NSD’s First Interim Response

   references communication between Plaintiff and NSD regarding the request to narrow, evidencing

   an agreement to “limit the initial search to Mr. Demers” [Dkt. 52 at 29-30]. Mr. Demers is one of

   several individuals named in item (b). Whether Plaintiff addressed narrowing items (d) and (f) is

   unclear based on the present record. The Findlay Declaration does not indicate if any search was

   conducted for items (d) and (f), and further muddying the waters, NSD’s Interim Response states

   it would nonetheless search beyond the narrow scope of Mr. Demers and would continue to process

   responsive records:

          We have conducted a search of the records of Mr. John Demers and located a record
          that is responsive to your request. We are withholding portions of that record
          pursuant to the following FOIA exemption set forth in 5 U.S.C. 552(b):
                   (6) Which permits the withholding of personnel and medical files and
                   similar files the disclosure of which would constitute a clearly unwarranted
                   invasion of personal privacy.
          NSD is continuing to process remaining records that are responsive to your request.
          Please note that NSD is also conducting searches and processing records that are
          beyond the narrowed scope of just the records of Mr. Demers. We will provide you
          with an update, to include a possible supplemental production prior to the next
          (after the March 16, 2021) Joint Status Report in this matter.

   [Dkt. 52 at 30]. NSD’s June 15 Final Response does not describe the efforts taken after the Interim

   Response, stating only that it was withholding one record in part under Exemption 6 [Dkt. 52 at

   72-73]. While NSD did include its standard boilerplate Glomar explanation [Dkt. 52 at 73],

   neither the Final Response nor the Findlay Declaration indicate if NSD actually invoked Glomar

   regarding any of the six items in the June 15 request. Again, the Findlay Declaration only explains

   its Glomar response to part 1 of the June 18 request [Dkt. 52 at 3]. The Declaration is silent as to

   whether Glomar was invoked for any item from the June 15 request. Of the 3 records ultimately



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   produced, Findlay states only that two records were produced in response to the June 15 request,

   and one record was produced in response to part 2 of the June 18 request [Dkt. 52 at 3].

          Based on the present record, the Court finds the Findlay Declaration lacks detail and a

   sufficiently precise summary of its searches to determine whether NSD’s search was adequate.

   The Court cannot ascertain whether NSD searched for all 6 items in June 15 request, whether it

   conducted a search but no records were found for certain items, or whether it declined to search

   under Glomar. See Schaerr, 435 F. Supp. 3d at 124 (finding inadequate NSD’s declaration where

   it omitted an explanation for a single item) (“NSD did not confirm that it searched for or identified

   locations for last part of item 1 of plaintiff's FOIA request”). Further, for the records NSD did

   produce, the Findlay Declaration lacks any description of the scope and methods of search for the

   June 15 items, and the Final Response only identifies the database searched for part 2 of the June

   18 request. This is far from sufficient. See Elec. Priv. Info. Ctr. v. DOJ Crim. Div., 82 F. Supp.

   3d at 316 (quoting Oglesby, 920 F.2d at 68) (“The Court finds that NSD’s affidavit does not

   provide sufficient details to support an adequate search. Any future search must ‘reflect a

   systematic approach to document location.’”); Pinson v. DOJ, 145 F. Supp. 3d 1, 12 (D.D.C. 2015)

   (“Affidavits that ‘do not denote which files were searched or by whom, do not reflect any

   systematic approach to document location, and do not provide information specific enough to

   enable [the plaintiff] to challenge the procedures utilized’ are insufficient to support a motion for

   summary judgment.”). Unlike the declarations submitted by the other agencies, the Findlay

   Declaration contains no section on the adequacy of NSD’s search at all. See Reps. Comm. for

   Freedom of Press v. Fed. Bureau of Investigation, 877 F.3d 399, 404 (D.C. Cir. 2017) (reversing

   grant of summary judgment based on failure to show the adequacy of searches) (“the Hardy

   declarations are utterly silent as to which files or record systems were examined in connection with




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   the targeted searches and how any such searches were conducted, including, where relevant, which

   search terms were used to hunt within electronically stored materials.”).

          Because the Court is unable to determine on the present record whether NSD conducted an

   adequate search, Defendants’ motion for summary judgment is denied without prejudice as to

   NSD’s search for records responsive to the June 15 request’s items, properly narrowed, and its

   search as to part 2 of the June 18 request. See Pinson, 145 F. Supp. 3d at 13 n.9 (quoting Wiesner

   v. FBI, 577 F.Supp.2d 450, 458 n.4 (D.D.C. 2008)) (“Because the Court ‘cannot yet determine’

   whether the EOUSA’s searches were adequate or reasonably calculated to locate all responsive

   documents, ‘the agency’s request for summary judgment is not yet ripe and must be denied without

   prejudice as a consequence.’”). The Court will permit NSD to submit an additional affidavit to

   address the adequacy of its search. See Pinson v. DOJ, 70 F. Supp. 3d 199, 205 n.3 (D.D.C. 2014)

   (“[the court] would be inclined to request that the DOJ submit an additional affidavit as the current

   affidavit describing the search responsive to FOIA Request No. 11–159 does not provide any

   description of the NSD searching for documents concerning the [topics of such request].”)

          Plaintiff’s Challenges to the Adequacy of Agency Searches

          Plaintiff urges generally only one challenge to the adequacy of Defendants’ searches,

   arguing the declarations “are conclusory or lack detail” [Dkt. 59 at 3]. The only specific basis for

   the inadequacy of Defendants’ searches offered is that “the declarations fail to identify the search

   terms used for some of the Plaintiff’s requests,” which it claims is “fatal” to the summary judgment

   motion [Dkt. 59 at 3]. But an agency’s “burden [is] to show that its search efforts were reasonable

   and logically organized to uncover relevant documents; it need not knock down every search

   design advanced by every requester.” DiBacco v. U.S. Army, 795 F.3d 178, 191 (D.C. Cir. 2015).

   The detailed affidavit “requirement exists as a matter of common sense: its purpose is to ‘afford a




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   FOIA requester an opportunity to challenge the adequacy of the search and to allow the district

   court to determine if the search was adequate in order to grant summary judgment.’” Hall v. CIA,

   No. 1:04-CV-814-RCL, 2022 WL 2528102, at *2 (D.D.C. July 7, 2022) (quoting Oglesby, 920

   F.2d at 68). “Agencies generally have ‘discretion in crafting a list of search terms’ as long as they

   are ‘reasonably tailored to uncover documents responsive to the FOIA request.’” Tushnet v. ICE,

   246 F. Supp. 3d 422, 434 (D.D.C. 2017) (quoting Bigwood v. DOD, 132 F.Supp.3d 124, 140-41

   (D.D.C. 2015)). The authority cited by Plaintiff in fact supports the proposition that exclusion of

   specific search terms in a declaration renders it inadequate only where the declaration lacks other

   indicia of a thorough search. In SAI vs. Transportation Security Administration, the court

   explained that an agency can show a thorough search by submitting “[a]ffidavits that include

   search methods, locations of specific files searched, descriptions of searches of all files likely to

   contain responsive documents, and names of agency personnel conducting the search are

   considered sufficient.” 315 F. Supp. 3d 218, 246 (D.D.C. 2018) (quoting Ferranti v. Bureau of

   Alcohol, Tobacco & Firearms, 177 F.Supp.2d 41, 47 (D.D.C. 2001)). Regarding identifying

   search terms, the court continued that “in the absence of other indicia of a thorough search, a

   declaration that ‘fail[s] to document the search terms used’ in an electronic search will not provide

   the Court with sufficient basis to grant summary judgment in favor of the agency.” Id. (quoting

   Anderson v. U.S. Dep’t of State, 661 F.Supp.2d 6, 10 (D.D.C. 2009)) (emphasis added). “[T]he

   agency need not deploy every conceivable search term or permit the FOIA requester to dictate the

   search terms in the course of litigation, but it must use terms reasonably calculated to locate

   responsive records.” Id. at 241 (citing Agility Public Warehousing Co. K.S.C. v. NSA, 113 F. Supp.

   3d 313, 339 (D.D.C. 2015)).




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            In this case, the EOUSA and NSA declarations do identify the search terms used, and

   Plaintiff does not take issue with such terms. The Cain Declaration describes the search terms

   used by EOUSA, specifically that the “district court case numbers, defendants’ name, and the

   internal number assigned by each USAO” were used [Dkt. 51-2 at 4-5]. As well, the Kiyosaki

   Declaration details the search terms used by NSA, specifically that it searched its records for

   “[e]ach of the 12 names as written,” as well as “[v]ariations on each of the 12 names including:

   last name only, first and last name, and first, middle (if known), and last name” [Dkt. 51-3 at 9-

   10]. Only the Blaine Declaration describing CIA’s search [Dkt. 51-1 at 17-18] and the Koch

   Declaration describing ODNI’s search omit an itemized list of the search terms used. However,

   again, “[t]here is no bright-line rule requiring agencies to use the search terms proposed’ by a

   plaintiff.” Liberation Newspaper v. U.S. Dep’t of State, 80 F. Supp. 3d 137, 146 (D.D.C. 2015)

   (quoting Physicians for Human Rts. v. DOD, 675 F. Supp. 2d 149, 164 (D.D.C. 2009)).21 Plaintiff

   does not point to any inadequacies related to the scope of the search by CIA or ODNI specifically.

   See id. (“Although the defendant used different search terms for different databases, this

   discrepancy does not undermine the conclusion that the search was reasonable given that the search

   terms were used after consultation with employees familiar with the databases and were reasonably

   designed to yield responsive information.”). CIA’s search returned the most records of any

   agency’s search – over 160 documents – and although only four were produced, the Blaine

   Declaration and Vaughn Index explain in detail the reasons for withholding in part or in whole.

   ODNI’s search also produced a number of responsive documents, nearly 25, three of which were

   referred to other agencies and the remaining are recorded in ODNI’s Vaughn Index [See Dkts. 51


   21
     “Defendants have discretion in crafting a list of search terms that ‘they believe[ ] to be reasonably tailored to uncover
   documents responsive to the FOIA request.’” Liberation Newspaper, 80 F. Supp. 3d at 146 (quoting Physicians for
   Human Rts., 675 F.Supp.2d at 164). “Where the agency’s search terms are reasonable, the Court will not second guess
   the agency regarding whether other search terms might have been superior.” Id. at 146-47.


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   at 22; 51-4 at 6-7, 24-25]. Plaintiff does not point to any other specific manner in which the CIA

   or ODNI Declarations are conclusory or lacking in detail, and the lack of specific search terms

   alone is not dispositive of whether the agencies conducted an adequate search. See DiBacco v.

   U.S. Army, 795 F.3d at 191 (finding the Army’s search adequate where it produced many

   responsive documents and the plaintiff “provided no further information on [the] request—such as

   its scope or the number of pages received—or any other basis for concluding that the Army is

   holding back documents.”); Liberation Newspaper, 80 F. Supp. 3d at 146-47 (granting summary

   judgment where the only argument advanced as to the inadequacy of the agency’s search was the

   plaintiff’s “speculative” claims regarding the search terms used).22

            Summary of Findings – Adequacy of Searches

            Regarding whether the declarations are each conclusory and lacking in detail, the Court

   finds these challenges lack merit with respect to the declarations in support of the adequacy of the

   searches by EOUSA, NSA, CIA, and ODNI. As Defendants correctly note, Plaintiff attempts to

   counter the good faith declarations with nothing more than speculation as to the adequacy of the

   searches by these agencies. See Berk v. Exec. Off. of U.S. Att’ys, No. 3:18-CV-1349-M-BK, 2021

   WL 1877068, at *1 (N.D. Tex. Feb. 2, 2021) (quoting Negley v. FBI, 589 F. App’x 726, 730 (5th

   Cir. 2014)) (“Once the agency meets its burden, the burden shifts to the plaintiff to introduce




   22
     This case is unlike the other authority cited by Plaintiff. There, the court found the agency’s declaration inadequate
   because it lacked any meaningful detail at all, and the plaintiff put forth evidence of missing records. See Manatt v.
   U.S. Dep’t of Homeland Sec., 473 F. Supp. 3d 409, 416-17 (E.D. Pa. 2020) (“But Ms. Eggleston’s declaration does
   not describe the scope or methods of USCIS’s search for responsive documents. It provides no search terms, does not
   identify the custodians or systems searched, or provide any other information about USCIS’s search methodology.
   Instead, Ms. Eggleston’s declaration focuses on the results of the search—the number of documents identified and the
   process used to review those documents. But that information does not answer the question of whether the search was
   reasonable. The Court has no way to assess whether the documents that USCIS located are all, most, some, or only a
   small portion of the universe of responsive documents. Merely reciting the number of documents identified is not
   enough to meet the agency’s burden to show that its search was reasonably calculated to uncover all relevant
   documents. . . . But there’s more. Plaintiffs have pointed to facts indicating that materials exist, in the form of missing
   email attachments.”).


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   ‘evidence that creates a genuine dispute as to the adequacy of the search.’”), report and

   recommendation adopted, No. 3:18-CV-1349-M-BK, 2021 WL 1866548 (N.D. Tex. May 10,

   2021); Fischer v. U.S. Dep’t of Just., 596 F. Supp. 2d 34, 43 (D.D.C. 2009) (“Fischer I”) (“Plaintiff

   has failed to rebut the FBI’s showing of a good faith search. Accordingly, the Court finds that the

   FBI has demonstrated that FBIHQ conducted an adequate search.”).

          However, the Court finds at present that the Findlay Declaration in support of the NSD’s

   search lack sufficient description of the scope and manner of search to determine whether the

   NSD’s search was adequate. See Berk, 2021 WL 1877068, at *1 (citing Cooper Cameron Corp.

   v. U.S. Dep’t of Labor, OSHA, 280 F.3d 539, 543 (5th Cir. 2002)) (“the agency renders this

   explanation in an affidavit although a conclusory or vague affidavit is insufficient even if the FOIA

   requester has not controverted the assertions.”). The Court will provide an opportunity for NSD

   to supplement the record about the search it conducted. See Swick v. U.S. Dep’t of the Army, No.

   CV 18-1658 (JDB), 2020 WL 6561360, at *4 (D.D.C. Nov. 9, 2020) (requiring the defendant “to

   clarify through sworn affidavit or declaration, or through relevant documentation, the exact nature

   of the electronic search by [the agencies] for [Plaintiff’s request], including a specific description

   of which databases were searched and which search terms were used. That submission should also

   ‘describe at least generally the structure’ of [the agency’s] electronic file systems, and provide ‘the

   agency’s rationale in identifying any specific databases.’”) (citations omitted) (quoting Int’l

   Counsel Bureau v. DOD, 657 F. Supp. 2d 33, 40 (D.D.C. 2009)) (cleaned up); Manatt v. U.S.

   Dep’t of Homeland Sec., 473 F. Supp. 3d 409, 417 (E.D. Pa. 2020) (“The Court will not, at this

   point, conclude that USCIS’s search was inadequate, though that possibility exists. Instead, the

   Court will give USCIS an opportunity to supplement the record with additional detail about the




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   search that it conducted. Plaintiffs can then renew their motion if the additional detail does not

   satisfy them that USCIS has conducted an adequate search.”).

      II.      Responses Withheld Pursuant to FOIA Exemptions

            Defendants move for summary judgment, urging each agency’s withholdings are proper

   pursuant to the FOIA Exemption invoked. Numerous Exemptions are at issue. Defendants argue

   EOUSA “properly withheld information pursuant to FOIA Exemptions 6 and 7(c)”; NSD

   “properly withheld information pursuant to FOIA Exemption 6”; NSA “properly withheld

   information pursuant to FOIA Exemptions 1, 3, and 6”; CIA “properly withheld information

   pursuant to FOIA Exemptions 1, 3, 5, 6, 7(C), and 7(E)”; and ODNI “properly withheld

   information pursuant to FOIA Exemptions 1, 3, 5, 6, 7(A), 7(C), 7(D) and 7(E)” [Dkt. 51 at 52].

   Defendants aver that each agency “processed all documents responsive to Plaintiff’s requests to

   achieve maximum disclosure”; that “[e]very effort was made to provide Plaintiff with all material

   in the public domain and with all reasonably segregable, non-exempt information”; and the “Non-

   FBI Defendants did not withhold any reasonably segregable, non-exempt portions from Plaintiff”

   [Dkt. 51 at 53].

            Standard for Reviewing Exemptions

            “An agency withholding responsive documents from a FOIA release bears the burden of

   proving the applicability of claimed exemptions.” ACLU v. DOD, 628 F.3d at 619. “For the sake

   of efficiency, the burden may be satisfied by submission of a ‘Vaughn Index’ and supporting

   declarations, which are intended to provide a court with an adequate description of documents that

   are being withheld from production pursuant to a specified FOIA exemption and justification for

   the applicability of the exemption invoked.” Jud. Watch, Inc. v. U.S. Dep’t of Com., 337 F. Supp.

   2d 146, 161 (D.D.C. 2004) (citing Vaughn v. Rosen, 484 F.2d 820 (D.C. Cir. 1973)); Batton, 598




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   F.3d at 178 (citing Stephenson v. IRS, 629 F.2d 1140, 1144 (5th Cir. 1980)) (In the Fifth Circuit,

   “a Vaughn index or similar procedure must be utilized to determine the factual nature of the

   information sought and whether that information fell within the statutory exemption asserted.”).

   “If an agency’s affidavit describes the justifications for withholding the information with specific

   detail, demonstrates that the information withheld logically falls within the claimed exemption,

   and is not contradicted by contrary evidence in the record or by evidence of the agency’s bad faith,

   then summary judgment is warranted on the basis of the affidavit alone.” ACLU v. DOD, 628 F.3d

   at 619. “Uncontradicted, plausible affidavits showing reasonable specificity and a logical relation

   to the exemption are likely to prevail.” Lindsey, 490 F. Supp. 3d at 9 (citing Ancient Coin

   Collectors Guild v. U.S. Dep’t of State, 641 F.3d 504, 509 (D.C. Cir. 2011)). “Because courts

   ‘lack the expertise necessary to second-guess such agency opinions in the typical national security

   FOIA case,’ we ‘must accord substantial weight to an agency’s affidavit concerning the details of

   the classified status of the disputed record.’” ACLU v. DOD, 628 F.3d at 619 (first quoting

   Krikorian v. Dep’t of State, 984 F.2d 461, 464 (D.C. Cir. 1993); then quoting Wolf, 473 F.3d at

   374 (quotations omitted)). “Ultimately, an agency’s justification for invoking a FOIA exemption

   is sufficient if it appears ‘logical’ or ‘plausible.’” Id.

           “To successfully challenge an agency’s showing that it complied with the FOIA, the

   plaintiff must come forward with specific facts demonstrating that there is a genuine issue with

   respect to whether the agency has improperly withheld [ ] agency records.” Competitive Enter.

   Inst. v. U.S. Dep’t of State, 486 F. Supp. 3d 171, 178 (D.D.C. 2020) (quoting Span v. U.S. Dep’t

   of Just., 696 F. Supp. 2d 113, 119 (D.D.C. 2010) (cleaned up)). For redactions unchallenged by

   Plaintiff or Exemptions left unaddressed, “[i]t is therefore proper to treat defendant's argument as

   conceded,’ with regard to the exemptions and categories not challenged by plaintiff.” See Fischer




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   v. U.S. Dep't of Just., 723 F. Supp. 2d 104, 110-11 (D.D.C. 2010) (“Fischer II”) (quoting Franklin

   v. Potter, 600 F.Supp.2d 38, 60 (D.D.C. 2009) (collecting cases)). Where Plaintiff does not contest

   the Exemptions applied by Defendants, the Court should grant summary judgment as to the

   assertion of those exemptions. Id. at 111 (“Accepting the unchallenged exemptions as conceded,

   the Court need not address their applicability and will grant summary judgment for defendant with

   respect to all records withheld or redacted under those exemptions.”); Negley v. U.S. Dep’t of Just.,

   305 F. Supp. 3d at 47-48 (“Because Plaintiff [did] not contest the exemptions as they apply to the

   documents uncovered by Defendant,” the district court granted the Government’s “motion for

   summary judgment regarding defendant’s assertion of exemptions 5, 6, 7(C), and 7(E).”), aff’d,

   No. 18-5133, 2018 WL 4148608 (D.C. Cir. Aug. 14, 2018).

   Summary of Relevant Exemptions

          Exemption 1 – Classified Information

          Exemption 1 applies where the requested information is “specifically authorized under

   criteria established by an Executive order to be kept secret in the interest of national defense or

   foreign policy” and is “properly classified” under the Executive Order. 5 U.S.C. § 552(b)(1)(A).

   Executive Order 13,526 governs proper classification under Exemption 1 and requires that “the

   original classification authority determines that the unauthorized disclosure of the information

   reasonably could be expected to result in damage to the national security ... and the original

   classification authority is able to identify or describe the damage.” Exec. Order No. 13,526

   § 1.1(a)(4); 75 Fed. Reg. 707 (2007). Once an agency by declaration attests that a record meets

   the classification criteria of Executive Order 13526, Plaintiff must raise more than “doubt” to raise

   a genuine issue of fact and show summary judgment is not warranted. Canning v. U.S. Dep’t of

   State, 134 F. Supp. 3d 490, 502 (D.D.C. 2015) (citations omitted) (“Because the Department has




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   offered declarations attesting that the classification criteria in EO 13526 are satisfied, it is

   Plaintiffs’ burden to raise a genuine question of fact regarding the documents’ classification.

   Plaintiffs’ ‘doubt’ on this score is insufficient.”).

           Here, Defendants frequently invoke Executive Order 13526 as the basis for Exemption 1.

   Executive Order 13526 allows an original classification authority to classify information only if

   the below conditions are satisfied:

           (1) an original classification authority is classifying the information;
           (2) the information is owned by, produced by or for, or is under the control of the
           United States Government;
           (3) the information falls within one or more of the categories of information listed
           in section 1.4 of this order; and
           (4) the original classification authority determines that the unauthorized disclosure
           of the information reasonably could be expected to result in damage to the national
           security, which includes defense against transnational terrorism, and the original
           classification authority is able to identify or describe the damage.

   75 Fed. Reg. at 707, Exec. Order. 13526 § 1.1(a). “When evaluating whether an agency has

   properly withheld information under [E]xemption 1 ‘the only question is whether the disputed

   document is properly classified under the applicable Executive Order.’” Smith v. U.S. Nat’l

   Archives & Recs. Admin., 415 F. Supp. 3d 85, 93 (D.D.C. 2019) (quoting Ctr. for Int’l Envtl. Law

   v. Off. of U.S. Trade Representative, 718 F.3d 899, 904 (D.C. Cir. 2013)). This is a low bar to

   meet, as “[T]he text of Exemption 1 itself suggests that little proof or explanation is required

   beyond a plausible assertion that information is properly classified.” Id. (quoting Morley v. CIA,

   508 F.3d 1108, 1124 (D.C. Cir. 2007)). “‘Because courts lack the expertise necessary to second-

   guess such agency opinions in the typical national security FOIA case,’ the Court ‘must accord

   substantial weight to an agency’ s affidavit concerning the details of the classified status of the

   disputed record.” Lindsey, 490 F. Supp. 3d at 11 (quoting ACLU v. DOD, 628 F.3d at 619).




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          Exemption 3 – Information Protected by Statute

          “FOIA Exemption 3 states that an agency need not disclose any documents ‘specifically

   exempted from disclosure by statute’ if the statute ‘requires that the matters be withheld from the

   public in such a manner as to leave no discretion on the issue’ or ‘establishes particular criteria for

   withholding or refers to particular types of matters to be withheld.’” Batton, 598 F.3d at 177

   (citation omitted) (quoting 5 U.S.C. § 522(b)(3) (2006)). “Exemption 3 differs from other FOIA

   exemptions in that its applicability depends less on the detailed factual contents of specific

   documents; the sole issue for decision is the existence of a relevant statute and the inclusion of

   withheld material within the statute’s coverage.” DiBacco v. U.S. Army, 795 F.3d at 197 (citing

   Morley v. CIA, 508 F.3d 1108, 1126 (D.C. Cir. 2007)).

          Exemption 5 – Privileged Information (and Segregation)

          “Exemption 5 states that an agency may withhold “inter-agency or intra-agency

   memorandums or letters which would not be available by law to a party other than an agency in

   litigation with the agency.”     Batton, 598 F.3d at 183 (citation omitted) (quoting 5 U.S.C.

   § 522(b)(5)). “The exemption thus provides the agency with the same privilege protections it

   would ordinarily have in civil discovery, ‘including the governmental attorney-client and attorney

   work product privileges, the presidential communications privilege, the state secrets privilege, and

   the deliberative process privilege.’” Competitive Enter. Inst. v. U.S. Dep’t of State, 486 F. Supp.

   3d at 178 (quoting Abtew v. U.S. Dep’t of Homeland Sec., 808 F.3d 895, 898 (D.C. Cir. 2015)).

          Exemption 7(A) – Pending Law Enforcement Proceedings

          Exemption 7(A) applies to “records or information compiled for law enforcement

   purposes, but only to the extent that the production of such law enforcement records or information




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   ... could reasonably be expected to interfere with enforcement proceedings.”             5 U.S.C.

   § 552(b)(7)(A).

           Exemptions 6 & 7(C) – Unwarranted Invasion of Personal Privacy

           “Exemption 6 provides that an agency need not disclose ‘personnel and medical files and

   similar files the disclosure of which would constitute a clearly unwarranted invasion of personal

   privacy.’” Batton, 598 F.3d at 180 (quoting 5 U.S.C. § 552(b)(6)). “FOIA Exemption 7(C)

   protects from disclosure ‘records or information compiled for law enforcement purposes’ to the

   extent that disclosure ‘could reasonably be expected to constitute an unwarranted invasion of

   personal privacy.’” Fischer I, 596 F. Supp. 2d at 46 (quoting 5 U.S.C. § 552(b)(7)(C)). “To

   determine whether Exemption 7(C) applies, the Court must ‘balance the privacy interests that

   would be compromised by disclosure against the public interest in release of the requested

   information.’” Id. (quoting Davis v. U.S. Dep’t of Just., 968 F.2d 1276, 1281 (D.C. Cir. 1992)).

   “Where a legitimate privacy interest exists, the requester must ‘(1) show that the public interest

   sought to be advanced is a significant one, an interest more specific than having the information

   for its own sake, and (2) show the information is likely to advance that interest.’” Id. (quoting

   Boyd v. Crim. Div. of the U.S. Dep’t of Just., 475 F.3d 381, 387 (D.C. Cir. 2007)). “The D.C.

   Circuit has consistently held that Exemption 7(C) protects the privacy interests of all persons

   mentioned in law enforcement records, including investigators, suspects, witnesses, and

   informants.” Id. at 47 (citing Schrecker v. U.S. Dep’t of Just., 349 F.3d 657, 661 (D.C. Cir. 2003)

   (citing cases)).

           “Exemption 7(C) ‘affords broad[ ] privacy rights to suspects, witnesses, and

   investigators.’” Kowal v. U.S. Dep’t of Just., 490 F. Supp. 3d 53, 70 (D.D.C. 2020) (quoting

   SafeCard Servs., 926 F.2d at 1205). “On the privacy side of the ledger, our decisions have




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   consistently supported nondisclosure of names or other information identifying individuals

   appearing in law enforcement records, including investigators, suspects, witnesses, and

   informants.” Schrecker v. U.S. Dep’t of Just., 349 F.3d 657, 661 (D.C. Cir. 2003) (collecting

   cases). The D.C. Circuit has gone as far as “adopt[ing] a categorical rule permitting an agency to

   withhold information identifying private citizens mentioned in law enforcement records, unless

   disclosure is ‘necessary in order to confirm or refute compelling evidence that the agency is

   engaged in illegal activity.’” Id. (quoting SafeCard Services, Inc. v. SEC, 926 F.2d 1197, 1206

   (D.C. Cir. 1991)). “And the public interest in that information is ‘not just less substantial, it is

   insubstantial’ unless there is ‘compelling evidence that the agency denying the FOIA request is

   engaged in illegal activity’ and ‘access to the names of private individuals appearing in the

   agency’s law enforcement files” is necessary to confirm or refute that evidence.’” Kowal, 490 F.

   Supp. 3d at 70 (citations omitted) (quoting SafeCard Servs., 926 F.2d at 1205-06) (cleaned up).

          Exemption 7(D) – Confidential Source Information

          Exemption 7(D) protects from disclosure agency records “compiled for law enforcement

   purposes…by criminal law enforcement authority in the course of a criminal investigation” if

   release of those records “could reasonably be expected to disclose” the identity of, or information

   provided by, a “confidential source.” 5 U.S.C. § 552 (b)(7)(D). “Under 7(D), the government has

   clear statutory authority to withhold both the source and the information with respect to criminal

   investigations.” Cooper Cameron Corp., 280 F.3d at 550. “The Supreme Court has emphasized

   that the issue under exemption 7(D) is ‘not whether the requested document is of the type that the

   agency usually treats as confidential, but whether the particular source spoke with an

   understanding that the communication would remain confidential.’” Id. (quoting U.S. Dep’t of

   Just. v. Landano, 508 U.S. 165, 172 (1993)).




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          Exemption 7(E) – Investigative Techniques & Procedures

          Exemption (7)(E) exempts from disclosure “records or information compiled for law

   enforcement purposes, but only to the extent that the production of such law enforcement records

   or information ... ‘(E) would disclose techniques and procedures for law enforcement

   investigations or prosecutions, or would disclose guidelines for law enforcement investigations or

   prosecutions if such disclosure could reasonably be expected to risk circumvention of the law.’”

   Clevenger v. U.S. Dep’t of Just., No. 18 CV 1568 (LB), 2020 WL 1846565, at *13 (E.D.N.Y.

   Apr. 3, 2020) (quoting 5 U.S.C. § 552(b)(7)(E)). “Under Exemption (7)(E), Courts have ‘set[ ] a

   relatively low bar for [an] agency to justify withholding.’” Id. (quoting Blackwell v. Fed. Bureau

   of Investigation, 646 F.3d 37, 42 (D.C. Cir. 2011)).

   Analysis of Withholdings by Agency

          EOUSA Withholdings – Exemptions 6 & 7(C)

          Defendants urge EOUSA properly invoked Exemptions 6 and 7(C) in its withholding

   decisions [Dkt. 51 at 58-60]. Recall that EOUSA produced two records, one released in full, and

   another, the unsealed affidavit in support of the criminal complaint charging Imran Awar was

   released in part, as shown by the EOUSA’s Vaughn Index [Dkt. 51-2 at 10]. The Cain Declaration

   identifies the specific nature of the private information withheld for the “purposes of both

   Exemptions 6 and 7(C),” specifically that “[i]n this instance the information being protected from

   public disclosure consists of third-party names, personal email addresses, and DOJ employee

   names” [Dkt. 51-2 at 6-7]. EOUSA describes that the third-party individuals have “a substantial

   privacy interest in avoiding disclosure of their personal information in the requested documents”

   under both Exemptions because “the release of personally identifiable information could subject

   the users to an unwarranted invasion of their personal privacy by leading to efforts to contact them




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   directly, gain access to their personal information, or subject them to harassment or harm”

   [Dkt. 51-2 at 7-8]. The Cain Declaration also considers the public interest that is weighed against

   the private interests at stake, explaining “[t]here is no countervailing public interest that warrants

   the release of an individual’s personally identifiable information, and its dissemination would not

   help explain the government’s activities or operations” [Dkt. 51-2 at 8]. Correctly noting that

   “Plaintiff bears the burden of establishing that disclosure will advance the public interest,” EOUSA

   urges “[t]here has been no showing of public interest in the records requested” [Dkt. 51-2 at 6].

          With regard to Exemption 7(C) in particular, EOUSA notes that “identification of

   government personnel involved in criminal investigations could subject them to harassment both

   in the conduct of their official duties and their private lives,” and private individuals also “have a

   strong interest in not being unfairly associated publicly with alleged criminal activity” [Dkt. 51-2

   at 7]. The Cain Declaration goes beyond conclusory assertions about privacy, explaining why the

   withholdings for this specific court document are warranted, given that “[i]n the underlying matter

   in particular, several measures were taken by the court to seal pleadings to protect third parties,

   and to prevent harassment of the associated families” [Dkt. 51-2 at 7].           Further, the Cain

   Declaration attests to the segregability effort, stating that “[a]fter EOUSA considered the

   segregability of the requested records, no reasonably segregable non-exempt information was

   withheld from Plaintiff” [Dkt. 51-2 at 8].

          The Cain Declaration, together with the Vaughn Index, are sufficient to justify the

   withholding in part of the third-party names, email addresses, and DOJ employee names, which

   have been redacted, pursuant to the Exemptions cited. See Clevenger, 2020 WL 1846565, at *11

   (“the request for individuals’ identifying information, such as their names, personal cellular

   numbers, and email addresses certainly implicate a privacy interest, and the Court finds that




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   disclosure of the information would not advance ‘the core purpose of the FOIA.’”). Plaintiff does

   not challenge the segregability of the personal information withheld by redaction; nonetheless, the

   Court has reviewed the Cain Declaration and Vaughn Index and finds EOUSA has demonstrated

   that no additional segregable information was not disclosed. Id. at *19 (“Plaintiff fails to rebut

   defendants’ declarations. The Court finds that defendants have adequately demonstrated that no

   additional, segregable information remains to be disclosed.”).

            Plaintiff raises one argument in opposition to EOUSA’s withholding, urging it “no basis

   for withholding records about Seth Rich” [Dkt. 59 at 9-10].23 Plaintiff does not address whether

   Exemption 6 or 7(C) is improper, instead asserting generally that the Cain Declaration is

   conclusory. But Plaintiff does not contest that it requested information wholly relating to third

   parties,24 nor that the third parties have a privacy interest in the specific information at issue here,

   namely “third-party names, personal email addresses, and DOJ employee names,” nor that “[s]uch

   information provides more insight into said third parties than government activities” [Dkt. 51-2 at

   6]. No further explanation is provided to describe the nature of the public interest in disclosing

   the information redacted in the EOUSA records.

            Plaintiff has not identified the public interest in releasing the private information of the

   third parties named in the request, as well as other third parties identified in the documents found

   responsive to the request, nor has it pointed to any illegal activity by EOUSA, let alone put forth

   “compelling evidence” of any such activity by EOUSA. See Kowal, 490 F. Supp. 3d at 70 (“Since

   Kowal does not point to any illegal activity implicating the ATF’s redactions under Exemptions 6



   23
      Plaintiff also requests the Court here take judicial notice of its Huddleston Response, which the Court has explained
   supra is not proper for judicial notice [Dkt. 59 at 9-10]. Plaintiff raises no other objections or challenges to
   Defendants’ grounds for summary judgment in favor of EOUSA.
   24
      As the Cain Declaration states, “EOUSA Policy dictates that if a requester obtains the written authorization and
   consent of the third parties for release of records, the requester may submit a new request for the documents
   accompanied with the written authorization. EOUSA never received such authorization” [Dkt. 51-2 at 3].


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   and 7(C) of names, addresses, and other identifiers of suspects, witnesses, and investigators

   mentioned in investigatory files, the Court cannot find fault with the balance struck by the ATF.”).

   Plaintiff’s only argument is that because “Rich is dead, thus he has very little privacy interest to

   protect” [Dkt. 59 at 9]. Whether a deceased person’s privacy interest is low is not relevant where

   no public interest in the disclosure of the information has been shown. See Fischer I, 596 F. Supp.

   2d at 47 (“Although the D.C. Circuit has held that ‘the privacy interest in nondisclosure of

   identifying information may be diminished where the individual is deceased,’ this factor is

   irrelevant where, as here, plaintiff has not identified any public interest in disclosure.”) (quoting

   Schrecker v. U.S. Dep’t of Just., 349 F.3d 657, 661 (D.C.Cir.2003)). This is because “[s]omething,

   even a modest privacy interest, outweighs nothing every time.” Id. (quoting Nat’l Ass’n of Retired

   Fed. Emps. v. Horner, 879 F.2d 873, 879 (D.C. Cir. 1989)). Therefore, the Court finds EOUSA’s

   withholdings under Exemptions 6 and 7(C) are proper, and Plaintiff has not shown any public

   interest outweighs the privacy interests identified by EOUSA. See Fischer I, 596 F. Supp. 2d at

   47 (“Therefore, the Court finds that the privacy interests in withholding the identifying information

   outweigh the public interest in disclosure and that disclosure of this information would constitute

   an unwarranted invasion of personal privacy within the meaning of Exemption 7(C).”).

          NSD Withholdings – Exemption 6

          Because the Court finds NSD’s declaration insufficient to establish the adequacy of its

   search, the Court cannot consider whether NSD’s withholdings are proper [Dkt. 51 at 60-61]. See

   Elec. Priv. Info. Ctr. v. Dep’t of Just. Crim. Div., 82 F. Supp. 3d at 316 n.6 (“The Court will not

   consider whether exemptions apply to NSD until an adequate search is conducted.”). The Court

   does note however that Plaintiff does not raise any substantive objection or challenge to NSD’s

   application of Exemption 6 to the records it did locate in its search.




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          NSA Withholdings – Exemptions 1, 3, & 6

          Defendants argue NSA properly invoked Exemptions 1, 3, and 6 to withhold 5 documents

   in part and 6 records in full [Dkt. 51 at 61-73]. The Kiyosaki Declaration explains in detail the

   basis for invoking each of these Exemptions, and is accompanied by NSA’s Vaughn Index.

          Redactions – Exemptions 1, 3, & 6

          Regarding Exemption 1, Kiyosaki explains that EO 13526 is the applicable Executive

   Order that addresses the classification of the records at issue. Kiyosaki confirms she reviewed the

   “the categories of redacted information pursuant to this FOIA request and determined that those

   categories are currently and properly classified in accordance with E.O. 13526,” and further, that

   “the responsive material at issue was properly redacted, as this information is currently and

   properly classified in accordance with E.O. 13526” [Dkt. 51-3 at 12-13]. More specifically,

          The release of the redacted material would disclose information that is currently
          and properly classified TOP SECRET pursuant to Section 1.2(a)(l) of E.O. 13526,
          because the information could reasonably be expected to cause exceptionally grave
          damage to the national security. Any disclosure of this information would
          obviously and immediately affect the ability of NSA to counter threats to the
          national security of the United States.
          ....
          Here, the redacted information is currently and properly classified. In fact, these
          redactions protect information that is classified as TOP SECRET, underscoring the
          exceptionally grave damage that would be implicated by its release. These
          redactions protect specific information concerning and derived from NSA SIGINT
          reporting, which plainly cannot be released to the public without exceptionally
          grave damage to national security. This redacted information, if revealed, would
          show specific topics that are the subject of NSA SIGINT reports. These intelligence
          reports are some of the most closely held and protected products that NSA creates,
          and cannot be disclosed without risk to national security given the insights they
          provide.

   [Dkt. 51-3 at 12-13] (footnote omitted). The Kiyosaki Declaration attests that “in accordance with

   Section 1.7 of E.O. 13526, no information was classified or withheld in order to conceal violation

   of law, or to prevent embarrassment to the Agency” [Dkt. 51-3 at 13].




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            Regarding Exemption 3, Kiyosaki explains the “redacted material subject to this exemption

   plainly falls within NSA’s unique statutory privilege: Section 6 of the National Security Agency

   Act of l959, 50 U.S.C. § 3605” (hereinafter, “Section 6”) [Dkt. 51-3 at 14].25 The Declaration

   explains of Section 6 that “[t]he protection provided by this statute is, by its very terms, absolute,

   as Section 6 states unequivocally that, notwithstanding any other law, including the FOIA, NSA

   cannot be compelled to disclose any information with respect to its activities” [Dkt. 51-3 at 14].

   To properly invoke Section 6 as the basis for withholding under Exemption 3, “NSA is not required

   to demonstrate specific harm to national security when invoking this statutory privilege, rather,

   NSA need only to show that the information falls within the scope of Section 6” [Dkt. 51-3 at 14].

   Notably, the Kiyosaki Declaration highlights that Section 6 protects “NSA’s organization,

   functions, activities, and nonpublic personnel [and] are therefore protected from disclosure

   regardless of whether or not the information is classified” [Dkt. 51-3 at 14]. Therefore, the Court

   may find NSA’s withholdings proper under Exemption 3 even if Exemption 1 were found not to

   apply.

            Applying Exemption 3 to the specific information withheld, the Kiyosaki Declaration

   describes the redacted information in two categories, first addressing information derived from

   NSA SIGINT:

            these redactions protect information concerning and derived from NSA SIGINT
            reporting. Collecting intelligence information and providing it to principals,
            advisors, and leaders in the United States government, including Congressional
            oversight committees, is a core function and primary activity of NSA. Additionally,
            these redactions protect information revealing NSA’s intelligence assessments,
            another central function and activity of NSA. Finally, these redactions protect
            information describing NSA’s role in the Vulnerabilities Equities Process ("VEP")
            that have not been publicly acknowledged. The details of NSA’s involvement in
            the VEP is also an NSA function/activity. Congress’s intent with respect to the
            protection of NSA’s organization, functions, and activities is manifest by the plain

   25
     NSA’s Vaughn Index refers to Section 6 as “P.L. 86-36” [Dkt. 51-3 at 74-75], which refers to the Public Law that
   enacted § 3605 as codified.


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          language of Section 6; where, as here, the disclosure of the requested information
          would improperly reveal aspects of NSA’s mission, the invocation of Exemption 3
          pursuant to this statute is proper.

   [Dkt. 51-3 at 15]. Regarding the second category of redacted information, NSA also redacted the

   standard identifier of an NSA employee pursuant to Exemption 3, which the Kiyosaki Declaration

   explains is protected by statute under Section 6. Specifically,

          NSA employees’ standard identifiers contain some or all of a particular employee’s
          name. NSA protects the standard identifiers of its personnel pursuant to Section 6,
          which, as noted, protects from disclosure the organization of NSA and the names
          and titles of those employed with NSA. This material is appropriately redacted
          pursuant to Exemption 3 of the FOIA, as it reflects information that squarely falls
          within the express protections of Section 6.

   [Dkt. 51-3 at 15]. Any disclosure of this information would obviously and immediately affect the

   ability of NSA to counter threats to the national security of the United States” [Dkt. 51-3 at 17].

          Regarding the withholdings made pursuant to Exemption 6, the Kiyosaki Declaration

   explains attests that “a careful examination of the redacted material reveals that the public interest

   in disclosure is minimal and clearly outweighed by the privacy interest involved” as “the only

   material redacted pursuant to Exemption 6 contains the full names and phone numbers of members

   of the SSCI staff” [Dkt. 51-3 at 16]. “There is no public interest in the release of these staff

   members’ personal information, specifically their names and phone numbers,” and “[t]hese

   individuals have an obvious privacy interest in their personal information” [Dkt. 51-3 at 16].

   Indeed, review of NSA’s Vaughn Index reveals only three instances of redactions under Exemption

   6 [Dkt. 51-3 at 74-75]. Further, because the redacted documents are part of the record, the Court’s

   review confirms that the only redactions designated as made pursuant to Exemption 6 are in fact

   the names and contact information in the released records [Dkt. 51-3 at 50, 56, 60].




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          Records Withheld in Full – Exemptions 1 & 3

          NSA also withheld from disclosure six documents, totaling 16 pages, pursuant to

   Exemptions 1 and 3. Kiyosaki explains the basis for these withholdings and attests that she has

   “have reviewed the material withheld in full and determined that no reasonably segregable portions

   can be released” [Dkt. 51-3 at 16]. As to segregability, the Kiyosaki Declaration states that

   “[m]ost, if not all, of this material is classified and non-segregable for that reason alone . . . and

   thus NSA is unable to produce any non-exempt portions of the responsive materials” [Dkt. 51-3 at

   16].

          Regarding records withheld in full under Exemption 1, of “eight specifically enumerated

   categories of information” eligible for classification under EO 13526, at issue here are

   “intelligence activities (including covert action), intelligence sources and methods, or cryptology”

   [Dkt. 51-3 at 17]. The Kiyosaki Declaration confirms this information is “properly classified as

   set forth in Section 1.4(c) of E.O. 13526” [Dkt. 51-3 at 17]. “The release of the material withheld

   in full would disclose information that is currently and properly classified TOP SECRET pursuant

   to Section 1.2(a)(1) of E.O. 13526, because the information could reasonably be expected to cause

   exceptionally grave damage to the national security” [Dkt. 51-3 at 17]. In fact, all of the documents

   withheld are classified TOP SECRET, “underscoring the exceptionally grave damage that would

   be implicated by their release” [Dkt. 51-3 at 18]. This information is non-segregable for several

   reasons, including that “in many instances, the withheld material does not contain any non-

   classified material”; “even in those documents where there are stray lines containing unclassified”

   information, “that material, without more, is not meaningful or substantive”; and as to other

   records, the “documents concern specific topics the very existence of which are classified”




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   [Dkt. 51-3 at 18]. The Kiyosaki Declaration distinguishes this withholding from NSA’s Glomar

   response, explaining that

          While NSA is prepared to state, on the public record, that it has withheld a specified
          number of materials responsive to Plaintiff’s request, namely, ‘‘correspondence
          received from or sent to any member of Congress ( or anyone representing a
          member of Congress or Congressional committee) since January 1, 2016 regarding
          or referencing" either Seth Conrad Rich, Julian Assange, Wikileaks, Kim Dotcom,
          Aaron Rich, Shawn Lucas, Kelsey Mulka, Imran Iwan, Abid Awan, Jamal Awan,
          Hina Alvi, or Rao Abbas, it cannot provide additional detail concerning the
          withheld material without risking exceptionally grave damage to national security.

   [Dkt. 51-3 at 18].    This information is “derived from SIGINT and associated analysis or

   explanation, which plainly cannot be released to the public without exceptionally grave damage to

   national security. The information from these intelligence reports, which are some of the most

   closely held and protected products that NSA creates, cannot be disclosed without risk to national

   security given the insights they provide” [Dkt. 51-3 at 19]. For this reason, Kiyosaki attests that

   this information is non-segregable because “this classified material does not contain meaningfully

   segregable portions, and, in most instances the very existence of the specific material withheld is

   classified” [Dkt. 51-3 at 19].

          Regarding records withheld in full pursuant to Exemption 3, several statutes apply.

   “[U]nder Exemption 3 the NSA need only show that the statute claimed is one of exemption as

   contemplated by Exemption 3 and that the withheld material falls within the statute.” Larson, 565

   F.3d at 868. Section 6, discussed supra, applies, as well as 18 U.S.C. § 798 and Section 102A(i)(1)

   of the Intelligence Reform and Terrorism Prevention Act of 2004, 50 U.S.C. § 3024. 18 U.S.C. §

   798 “prohibits the unauthorized disclosure of classified information: (i) concerning the

   communication intelligence activities of the United States, or (ii) obtained by the process of

   communication intelligence derived from the communications of any foreign government”

   [Dkt. 51-3 at 20]. Communication intelligence “means the ‘procedures and methods used in the



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   interception of communications and obtaining the information from such communications by other

   than the intended recipients’” [Dkt. 51-3 at 20] (quoting l8 U.S.C. § 798(b)). The Kiyosaki

   Declaration explains that NSA’s SIGINT information, while classified, “is also plainly protected

   by the strictures of § 798” [Dkt. 51-3 at 20]. Section 102A(i)(1) of the Intelligence Reform and

   Terrorism Prevention Act of 2004 requires that NSA, as a member agency of the U.S. intelligence

   community, “must also protect intelligence sources and methods” [Dkt. 51-3 at 21]. Kiyosaki

   attests that this “protection afforded to intelligence sources and methods is absolute” and

   “[w]hether the sources and methods at issue are classified is irrelevant for purposes of the

   protection afforded by” Section 102A(i)(1) [Dkt. 51-3 at 21]. The “details of the withheld material

   responsive to Plaintiff’s request concerning correspondences with Congress regarding or

   referencing specific individuals implicates critical sources and methods,” and the requested

   information includes “[d]etailed discussions about circulated intelligence reports and NSA

   capabilities, both of which generally describe the type of information present in these withheld

   materials, reflect the very sources and methods this statute is designed to protect” [Dkt. 51-3 at

   21]. Because all three statutes invoked fall within the scope of Exemption 3, NSA must show that

   the information withheld falls under the purview of one or more of these statutes.26

            The Kiyosaki Declaration concludes that all three statutes apply to protect the withheld

   information from disclosure, and review of NSA’s Vaughn Index confirms all three statutory bases

   are identified as applying to the records withheld pursuant to Exemption 3. Again, Kiyosaki

   explains that these bases for withholding the identified records are independent of any protections




   26
      All three statutes are Exemption 3 statutes. See Larson, 565 F.3d at 868 (“Section 6 qualifies as an Exemption 3
   statute,” and “section 798 [of Title 18] qualifies as an Exemption 3 statute”); Lindsey, 490 F. Supp. 3d at 15 (“It is
   undisputed that 50 U.S.C. § 3024(i)(1) [the Intelligence Reform and Terrorism Prevention Act of 2004] is an
   “exemption statute.”).


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   warranted by Exemption 1, but Exemption 3 alternatively and separately covers the withheld

   records [Dkt. 51-3 at 21-22].

            Plaintiff primarily raises its objections and challenges to Defendants’ grounds for summary

   judgment in favor of NSA in its response to NSA’s Glomar response. However, Plaintiff argues

   that Section 6 the National Security Act of 1959 “certainly exempts some NSA records, but by no

   means all of them” and “the NSA cannot categorically refuse to search for or produce records

   solely on the basis of 50 USC § 3606”27 [Dkt. 59 at 8].28 As the Kiyosaki Declaration makes clear,

   no record was withheld solely on the basis of Section 6. The Vaughn Index, again, shows that all

   three statutes are invoked under Exemption 3. “Where, as here, one statute provides ‘ample

   support for the propriety of the NSA’s invocation of Exemption 3,’ the Court ‘need not opine about

   the sufficiency of ... alternative bases.’” See Blake v. NSA, No. CV 21-1085 (RC), 2022 WL

   3016714, at *6 n.7 (D.D.C. July 29, 2022) (citing Agility Pub. Warehousing Co. K.S.C. v. NSA,

   113 F. Supp. 3d 313, 329 n.7 (D.D.C. 2015); Knight First Amend. Inst. at Columbia Univ. v. CIA,

   424 F. Supp. 3d 36, 42 n.10 (D.D.C. 2020), aff’d, 11 F.4th 810 (D.C. Cir. 2021)). And, each record

   withheld pursuant to Section 6 is also protected from release by Exemption 1. See Larson, 565

   F.3d at 862-63 (“FOIA Exemptions 1 and 3 are independent; agencies may invoke the exemptions

   independently and courts may uphold agency action under one exemption without considering the

   applicability of the other.”). Even if Plaintiff is correct that Section 6 cannot be the sole basis for

   withholding a record in full,29 that is not what NSA has done, and Plaintiff has not shown that any


   27
      The Court addresses 50 U.S.C. § 3605, as that is the statute invoked by NSA and § 3606 does not exist.
   28
      Whether Exemption 3 can serve as a basis to refuse to search for records will be addressed with NSA’s Glomar
   responses.
   29
      The authority cited by Plaintiff for the claim that Section 6 cannot be the sole basis for an Exemption 3 withholding
   is not instructive. Most importantly, the facts are meaningfully distinct, as the Shapiro court found that Section 6
   could not be the sole justification for a Glomar response, where NSA had improperly narrowed the scope of the FOIA
   request to only search for SIGINT information. See Shapiro v. CIA, 170 F. Supp. 3d 147, 159 (D.D.C. 2016) (“Because
   the agency misinterpreted Shapiro's original request, the Court finds that the NSA is statutorily obligated to address




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   record was improperly withheld in full under all of the possible bases for its protection. Because

   Plaintiff has not called the Kiyosaki Declaration into question by showing bad faith or the existence

   of contravening information, the Court finds NSA has properly invoked Exemption 3. See James

   Madison Project v. CIA, 344 F. Supp. 3d 380, 389-90 (D.D.C. 2018) (citing Goland v. CIA, 607

   F.2d 339, 350 (D.C. Cir. 1978)) (“Because each agency’s declaration both identifies the statute

   that excludes the information and establishes that the information falls within the statute’s scope,

   the Court finds that FOIA Exemption 3 was properly invoked.”).

            CIA Withholdings – Exemptions 1, 3, 5, 6, & 7

            Defendants argue CIA properly invoked numerous Exemptions in its Final Response to

   Plaintiff’s two requests to the agency [Dkt. 51 at 73-89]. CIA withheld six documents in full in

   response to parts 3(1) and 3(2) of Plaintiff’s May 2020 Request, pursuant to Exemptions 1, 3, 5

   and 6 [Dkt. 51 at 73-74]. In response to part 2 of the June 202 Request, CIA released four

   documents in part and withheld in full 157 documents pursuant to FOIA Exemptions 1, 3, 5, 6,

   7(C), 7(D), and 7(E) [Dkts. 51 at 74; 51-1 at 37].30 The remaining parts of the two requests are

   addressed by CIA’s Glomar responses. Blaine attests CIA “released all reasonably segregable,

   nonexempt information that could be released without potentially compromising classified or

   privilege information, or other information protected by the FOIA” [Dkt. 51-1 at 38].



   his outstanding request for all records in the NSA’s possession that do not reveal whether Nelson Mandela was a
   SIGINT target or of SIGINT interest to the NSA”). Plaintiff raises no similar challenge to the scope of NSA’s search
   in this case, thus Shapiro does not compel a finding that any Section 6 basis for an Exemption 3 here is also improper.
   30
      Many of the withheld records are protected by multiple, overlapping exemptions, as the Blaine Declaration explains:
             Much of the information is protected by several overlapping FOIA exemptions. For example, the
             interview notes and memoranda withheld under Exemption (b)(5) pursuant to the deliberative
             process privilege contain discrete pieces of classified information withheld pursuant to
             Exemption (b)(1), and intelligence sources and methods withheld under Exemption (b)(3) pursuant
             to the National Security Act. They also contain the names of employees, withheld under
             Exemption (b)(3) pursuant to the CIA Act, and Exemption (b)(6). They further contain identifying
             information about those involved in the investigation or information provided by individuals
             interviewed, which is withheld under Exemptions (b)(7)(C) and (b)(7)(D) respectively.
   [Dkt. 51-1 at 38].


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            The Blaine Declaration explains in detail the basis for invoking each of these Exemptions

   and is accompanied by CIA’s Vaughn Index. Plaintiff primarily challenges CIA’s Glomar

   response, raising only one challenge to any specific Exemption invoked by CIA, specifically

   Exemption 5. Plaintiff also generally complains that the CIA has not justified why its records

   cannot be redacted [Dkt. 59 at 8].31 The Blaine Declaration attests that CIA applied reductions to

   all documents when it could and confirmed all segregable was disclosed. 32 Together with the

   descriptions in the Vaughn Index of each record and the basis for the Exemptions invoked, this is

   sufficient to satisfy CIA’s obligation to justify its disclosures and withholdings. See Kowal, 490

   F. Supp. 3d at 72 (“The ATF also provided descriptions for the documents it withheld in their

   entirety in its Vaughn index. . . . The ATF has thus shown with ‘reasonable specificity’ as to why

   the 30 documents cannot be segregated.”). Plaintiff otherwise does not challenge any Exemption,

   except where noted for Exemption 5.

            Exemption 1

            Regarding Exemption 1, the Blaine Declaration attests that the records responsive to parts

   3(1) and 3(2) of the May 2020 CIA Request, and part 2 of the June 2020 CIA Request are

   “currently and properly classified, or contain information that is currently and properly classified”

   [Dkt. 51-1 at 18]. The records withheld pursuant to Exemption 1 contain classified information

   under classification category § 1.4(c) of EO 13526, specifically information that “consists of (i)



   31
      While Plaintiff challenges CIA’s redactions when addressing Defendants’ Glomar responses, the Blaine Declaration
   addresses as the question of redaction and segregability primarily in context of withholdings under the Exemptions.
   The Court addresses redaction and CIA’s segregability determinations here, as redaction is only relevant to identified
   records, which do not exist where CIA invokes a Glomar response.
   32
      “FOIA requires that ‘even if some materials from the requested record are exempt from disclosure, any reasonably
   segregable information from those documents must be disclosed after redaction of the exempt information unless the
   [non-]exempt portions are inextricably intertwined with exempt portions.’” Fischer I, 596 F. Supp. 2d at 44 (quoting
   Johnson v. Exec. Off. for U.S. Att’ys, 310 F.3d 771, 776 (D.C. Cir. 2002)) (cleaned up). “The agency is ‘entitled to a
   presumption that [it] complied with the obligation to disclose reasonably segregable material.’” Kowal, 490 F. Supp.
   3d at 72 (quoting Hodge v. FBI, 703 F.3d 575, 582 (D.C. Cir. 2013) (alteration in original)).


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   identifying information regarding covert personnel; (ii) identifying information regarding covert

   locations; and (iii) information that would tend to reveal specific intelligence sources, methods,

   and or activities” [Dkt. 51-1 at 18-19]. Blaine describes the national security risks associated with

   each category of information as follows. Regarding covert personnel,

          The CIA considers the identities of its covert employees and their activities to
          constitute intelligence sources and methods. In order to carry out its mission of
          gathering and disseminating intelligence, the CIA places certain employees under
          cover to protect the fact, nature, and details of the Agency’s interest in foreign
          activities as well as the intelligence sources and methods employed to assist in those
          activities. Disclosing the identity of a covert employee could expose the
          intelligence activities with which the employee has been involved and the sources
          with whom the employee has had contact. Additionally, disclosing the identity of a
          covert employee could jeopardize the safety of the employee, his or her family, his
          or her sources, and even other persons with whom he or she has had contact. In
          order for the Agency to carry out effectively its foreign-intelligence gathering
          mission, it is imperative that the identities of these covert personnel be protected.

   [Dkt. 51-1 at 19-20]. Regarding covert locations,

          The records at issue also contain details related to covert CIA locations. The places
          where the CIA maintains a presence constitute classified intelligence methods of
          the Agency. The CIA1 s covert overseas facilities are critical to the CIA’s mission,
          as they provide a base for the CIA’s foreign intelligence activities. Acknowledging
          the location of such covert facilities can endanger the physical safety of covert CIA
          officers who work at those locations by, among other things, significantly
          increasing the likelihood that those facilities could be targeted for attacks.

   [Dkt. 51-1 at 20]. Regarding intelligence methods, sources, and activities,

          The documents at issue also contain information concerning CIA intelligence
          methods as well as details of specific intelligence activities.
                  The CIA must guard against the disclosure of the clandestine methods it
          uses to collect and analyze intelligence. Intelligence methods are the techniques and
          means by which an intelligence agency accomplishes the mission, and the classified
          internal regulations, approvals, and authorities that govern the conduct of CIA
          personnel. In this case, the CIA withheld information related to the methods that it
          uses to collect and analyze intelligence. This includes certain classified details
          regarding the Agency’s information technology and security of those systems.
                  The manner in which the Agency protects its intelligence on its information
          systems is itself a method—indeed, one that is critical to the CIA’s mission of
          collecting and analyzing foreign intelligence. Disclosure of different details
          regarding the Agency’s information technology and information security may



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              complicate or completely disrupt CIA communications. For example, a disruption
              to the Agency’s computer network could hinder active operations or allow for the
              interception of classified communications by adversaries. The Agency must protect
              identifying information regarding its information systems, its information security
              protocols, and details regarding its technical capabilities concerning this
              information systems from disclosure. The Agency must do so in order to prevent
              adversaries, terrorist organizations, and others from learning about how the CIA
              operates, which would allow them to use countermeasures to undermine U.S.
              intelligence capabilities and render collection efforts ineffective.

   [Dkt. 51-1 at 21-22].

              Blaine “determined that this information remains currently and properly classified pursuant

   to the criteria of Executive Order 13526 as its disclosure could reasonably be expected to cause

   damage to national security” [Dkt. 51-1 at 22]. The Blaine Declaration attests that “none of the

   information at issue has been classified in order to conceal violations of law,” or to “prevent

   embarrassment to a person,” or to prevent release of information “that does not require protection

   in the interest of national security” [Dkt. 51-1 at 19].

              Exemption 3

              CIA invokes Exemption 3 pursuant to two statutes: “Section 102A(i)(1) of the National

   Security Act, and Section 6 of the Central Intelligence Agency Act of 1949, as amended, 50 U.S.C.

   § 3507” (hereinafter, the “CIA Act”),33 both of which are “widely recognized” as withholding

   statutes for Exemption 3 [Dkt. 51-1 at 22-23].

              The National Security Act invoked under Exemption 3 “applies co-extensively” to the

   information protected by Exemption 1 as it relates to classified sources and methods; however, the

   National Security Act is broader and “there are some aspects of the Agency’s intelligence sources

   and method that are unclassified, but would nevertheless reveal intelligence sources and methods

   protected by the National Security Act if disclosed” [Dkt. 51-1 at 23]. An example of information



   33
        Section 6 of the CIA Act is a different statute than the Section 6 invoked by NSA.


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   protected by the National Security Act are “details related to the Agency’s information technology

   systems”, which “would show the types of equipment relied upon by Agency personnel to carry

   out the CIA’s objectives” [Dkt. 51-1 at 23]. Two other specific categories of information are

   protected by the Act: (1) classification and dissemination control markings, and (2) code words

   and pseudonyms [Dkt. 51-1 at 23]. Although no showing of national security risk is required to

   properly invoke Exemption 3, as the declaration correctly notes, Blaine nonetheless explains why

   this information is sensitive and must be protected [Dkt. 51-1 at 23-25].

          Section 6 of the CIA Act protects “the organization, functions, names, official titles,

   salaries, or numbers of personnel employed by the Agency” from disclosure [Dkt. 51-1 at 25-26]

   (quoting 50 U.S.C. § 3507). This applies to protect both CIA officers and contractors. The Blaine

   Declaration explains “the Agency withheld names and other personally-identifying information of

   Agency personnel, such as Agency identification numbers, telephone numbers, email addresses,

   locations, and core job functions” [Dkt. 51-1 at 26]. Again, although “no harm rationale is

   required,” Blaine attests that disclosure of this information “would expose the identities of CIA

   personnel, and possibly their job duties and contact information, which could subject them to

   harassment, embarrassment, or unwanted contact,” as well as “highlight the capabilities and

   possible limitations of the Agency’s intelligence activities, which could hinder the Agency’s

   efforts to fulfill its intelligence-gathering mission” [Dkt. 51-1 at 26].

          Exemption 5

          The Blaine Declaration first clarifies that CIA is “no longer asserting” Exemption 5 in

   relation to the documents responsive to parts 3(1) and (3) (2) of the May 2020 CIA Request, only

   “in relation to the documents responsive to part 2 of the June 2020 CIA request” [Dkt. 51-1 at 26-

   27]. Regarding the June 2020 request, Blaine attests that all of the information withheld pursuant




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   to Exemption 5 “has been circulated either within the Agency or with other agencies within the

   federal government, and therefore satisfies the intra- and inter-agency threshold of the exemption,”

   and as the Vaughn Index describes, Exemption 5 is asserted to discussions that are protected by

   attorney–client privilege, attorney work–product privilege, or the deliberative process privilege

   [Dkt. 51-1 at 27].

          CIA invoked the deliberative process privilege for the majority of the records responsive

   to part 2 of the June 2020 CIA Request related to the request for records concerning whether former

   CIA Director Petraeus mishandled classified information. The Blaine Declaration describes why

   the withheld information properly falls under this privilege:

          many of the records consist of OIG investigation case progress reviews, logs of
          investigative activity, correspondence with DOJ regarding deliberations at different
          stages of the investigation, and witness interview notes. Each of these
          communications reflect the CIA’s internal and confidential decision-making
          process at interim stages of the investigation related to former CIA Director
          Petraeus. Some of the documents withheld are draft versions, which were not
          finalized, contain no date, or have no signature. Also, some of these drafts have
          embedded comments, or contain recommendations and edits as well as discussions
          about wording, accuracy, and other deliberative ancillary matters. These
          communications do not convey final Agency viewpoints on a particular matter, but
          rather reflect different considerations, opinions, options, and approaches that
          preceded the Department of Justice’s final decision to pursue prosecution.

   [Dkt. 51-1 at 28-29]. “[T]he documents withheld in full or in part pursuant to the deliberative

   process privilege do not reveal a final decision, but reflect the investigative, deliberative process

   that the Agency undertook,” and if one were to compare records protected by such privilege with

   publicly-filed documents, it “ultimately would open the Agency’s deliberative process to public

   scrutiny on decisions that were not final” and “would chill the free flow of discussion in agency

   decision-making” [Dkt. 51-1 at 29-30]. Blaine attests that “to the extent the documents contain

   any factual material, that content is part and parcel of the deliberations, and its disclosure would

   expose or cause harm to the Agency’s deliberations” [Dkt. 51-1 at 30]. As well, disclosure of this



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   information “could mislead or confuse the public by disclosing rationales that did not for the basis

   for the Agency’s final decisions” [Dkt. 51-1 at 31].

          The attorney work–product privilege was invoked to protect 8 documents in order to

   “withhold communications from or between Agency attorneys discussing the then-ongoing

   investigation, legal issues, and deliberations regarding the future progression of the investigation”

   [Dkt. 51-1 at 31]. All of the communications withheld under this privilege were created in

   reasonable anticipation of litigation, primarily criminal prosecutions, which is the type of

   information the work–product privilege is meant to protect [Dkt. 51-1 at 31]. Attorney–client

   privilege was invoked to protect one document that contains “confidential communications

   between senior Agency officials and senior attorneys within the CIA’s Office of General Counsel,”

   and Blaine attests that this information meets the requirements for attorney–client privilege,

   namely that it is communication made in connection with a request for legal advice and the

   confidentiality of these communications were maintained [Dkt. 51-1 at 31-32].

          Plaintiff objects to CIA’s invocation of any privilege under Exemption 5 on the grounds

   that CIA has failed to properly brief these issues and therefore they are waived [Dkt. 59 at 9].

   Plaintiff argues waiver because CIA’s explanation of Exemption 5 privileges are “conclusory” and

   lack legal authority [Dkt. 59 at 9]. The Court disagrees that Defendants have not briefed this

   argument as a matter of procedure, as Defendants’ motion explicitly brief the issue, states the

   statutory basis for each privilege, and is supported by a sufficient declaration from the agency.

   The Blaine Declaration explains in sufficient detail why each of the privileges applies, and the

   Vaughn Index provides further explanation of which privilege was invoked for each record and

   why. Plaintiff cites no authority that these privileges may be waived by substantively deficient

   briefing, as opposed to the Court determining summary judgment is not warranted on the basis of




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   this Exemption. No other specific challenges are raised by Plaintiff to the Exemptions invoked by

   CIA, except to the extent they overlap with its objections to CIA’s Glomar responses.

          Exemption 6

          Exemption 6 was invoked to withhold information responsive the May 2020 Request and

   the June 2020 Request. The Blaine Declaration explains that Exemption 6, which protects

   personnel files and “similar files” covers “any personally identifying information of covert and

   overt CIA personnel and other individuals mentioned in the documents, such as names, positions,

   contact information, social security numbers, unique Agency identifiers (such as pseudonyms and

   Agency identification numbers), and similar identifying details” [Dkt. 51-1 at 32-33]. Addressing

   the balancing of the privacy interests of the individuals’ personal information against the public

   interest in disclosure, Blaine explains that the privacy interests are high:

          The individuals named in the records are CIA employees, non-agency government
          personnel, and other third parties unaffiliated with the Agency. These persons
          maintain a strong privacy interest in this information because its release could
          subject them to harassment, embarrassment, or unwanted contact by virtue of their
          association with the subject matters of the FOIA requests.

   [Dkt. 51-1 at 33]. Regarding the public interest, “The Transparency Project has not set forth, and

   I am unable to identify in each of these instances, any qualifying countervailing public interest that

   would be served by such a disclosure,” nor would it serve FOIA’s purpose of informing the public

   as to the activities of the agency [Dkt. 51-1 at 33-34]. Blaine notes that the information protected

   by Exemption 6 is also protected by the CIA Act pursuant to Exemption 3 [Dkt. 51-1 at 34].

          Exemptions 7(C), 7(D), & 7(E)

          Exemption 7 protects information and records generated by CIA’s Office of Inspector

   General that were compiled for law enforcement purposes [Dkt. 51-1 at 34].               The Blaine

   Declaration explains that in November 2012, OIG opened an investigation into activities involving




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   former CIA Director Petraeus, and while FBI eventually took over the investigation, OIG

   continued to assist the investigation [Dkt. 51-1 at 35]. Related to Plaintiff’s June 2020 Request,

   CIA asserts Exemptions 7(C) and 7(D) “to protect the privacy of those involved in the investigation

   and information provided by confidential sources to the OIG during the course of its investigation”

   [Dkt. 51-1 at 35].

          Regarding Exemption 7(C), CIA withheld identifying information regarding the

   individuals involved in the investigation [Dkt. 51-1 at 35]. The Blaine Declaration notes this

   information is also protected by Exemption 6 for the same personal identifying information, and

   “the Agency withheld the names of CIA employees and other federal government personnel

   pursuant to Exemption (b)(7)(C) because these persons maintain a strong privacy interest” in

   information whose release would subject them to harassment or unwanted contact by the media or

   other interested parties [Dkt. 51-1 at 35]. No countervailing public interest in revealing the names

   of these individuals could be identified, and consequently, Blaine attests that “disclosure of this

   information could reasonably be expected to constitute an unwarranted invasion of personal

   privacy pursuant to Exemption (b)(7)(C)” [Dkt. 51-1 at 36].

          Exemption 7(D) is asserted by CIA to protect confidential source interviews, specifically

   “the interview notes of OIG investigators and memoranda drafted from those notes” [Dkt. 51-1 at

   36]. The Blaine Declaration attests that, “[a]s a matter of Agency policy, the OIG does not disclose

   the identities of persons it interviews or the substance of their statements unless such disclosure is

   determined to be necessary for the full reporting of a matter or the fulfillment of other OIG or

   Agency responsibilities” [Dkt. 51-1 at 36]. Interviewees are under either an express or implied

   promise of confidentiality, and review of the Vaughn Index reveals CIA noted whether the basis

   was implied or express confidentiality for each record withheld pursuant to 7(D) [See Dkt. 51-1 at




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   48]. The notes withheld “contain details that would tend to identify the individuals interviewed

   by revealing their position in the Agency or their role in, or knowledge of, the underlying events”

   [Dkt. 51-1 at 36]. Blaine attests that all of the withheld information relates to an investigation

   criminal in nature, and thus it properly falls within Exemption 7(D), and “no part of the interview

   notes or the memoranda is segregable” [Dkt. 51-1 at 36-37].

          Exemption 7(E) is invoked for a limited amount of information [Dkt. 51-1 at 37]. The CIA

   Vaughn Index reveals fewer than five records withheld pursuant to Exemption 7(E) [Dkt. 51-1 at

   46, 48, 58, 102] (Entry Nos. 22, 29, 57, and 167). CIA invoked Exemption 7(e) “to protect

   information related to some of the techniques and procedures used by the OIG in relation to the

   OIG's investigation into former CIA Director Petraeus,” which if disclosed, “would reveal the

   extent to which the OIG records, catalogs, or otherwise compiles specific information as part of

   its investigations” [Dkt. 51-1 at 37]. Blaine attests that the information protected by Exemption

   7(E) is also protected by the National Security Act pursuant to Exemption 3 [Dkt. 51-1 at 37].

          ODNI Withholdings – Exemptions 1, 3, 5, 6, & 7

      Defendants argue ODNI properly invoked numerous Exemptions in determining what records

   must be withheld [Dkt. 51 at 89-92]. ODNI withheld nineteen documents in full, withheld four

   documents in part, and referred three documents to other agencies, pursuant to Exemptions 1, 3,

   5, 6, 7(A), 7(C), 7(D), and 7(E). The Koch Declaration explains in detail the basis for invoking

   each of these Exemptions and is accompanied by ODNI’s Vaughn Index. Plaintiff objects

   generally to the ODNI exemptions on the grounds “they are complete conclusory” [Dkt. 59 at 9].

   No further explanation is provided as to why the Koch Declaration or the Vaughn Index are

   insufficiently detailed and specific.




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          Koch attests ODNI “redacted only the information subject to the foregoing exemptions,

   and released all other reasonably segregable, non-exempt information” [Dkt. 51-4 at 12-13].

   “With regard to the nineteen documents withheld in full, ODNI determined that, pursuant to the

   foregoing exemptions, neither the records themselves nor portions of the records may be released.

   As explained in this declaration, doing so would reveal classified and statutorily-protected

   information that is itself exempt from disclosure” [Dkt. 51-4 at 13]. Based on his personal review

   of the documents identified in ODNI’s Vaughn Index, Koch “determined that no other reasonably

   segregable information can be released” [Dkt. 51-4 at 13].

          Exemption 1

          Regarding Exemption 1, the Koch Declaration attests that “each invocation of Exemption

   1 in those documents [identified in the Vaughn Index] is proper and consistent with E.O. 13526”

   [Dkt. 51-4 at 8]. Of the categories of information subject to classification under § 1.4, the

   information withheld under Exemption 1 “falls under several classification categories listed within

   E.O. 13526”, such as “(a) military plans, weapons systems, or operations; (b) foreign government

   information; (c) intelligence activities (including covert action), intelligence sources or methods,

   or cryptology; [or] (d) foreign relations or foreign activities of the United States, including

   confidential sources” [Dkt. 51-4 at 8-9].      “As an original classification authority,” Koch

   “determined that the information withheld under Exemption 1 that is responsive to Plaintiff’s

   request is currently and properly classified” [Dkt. 51-4 at 8]. Koch attests that “unauthorized

   disclosure of the information withheld under Exemption 1 could reasonably be expected to result

   in at least serious damage to the national security,” and the “information was therefore properly

   withheld under FOIA Exemption 1” [Dkt. 51-4 at 9]. The Koch Declaration further states “none

   of the information withheld under Exemption 1 has been classified in order to conceal violations




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   of law,” or to “prevent embarrassment to a person, organization or agency” or to “prevent or delay

   the release of information that does not require protection in the interests of national security”

   [Dkt. 51-4 at 9].

           Exemption 3

           The Koch Declaration explains that three statutes justify withholdings under Exemption 3.

   Under the National Security Act, “the [DNI] shall protect intelligence sources and methods from

   unauthorized disclosure,” which “has long been held to qualify as a withholding statute” under

   Exemption 3 [Dkt. 51-4 at 9] (quoting 50 U.S.C. § 3024(i)(1)). The second is a separate statutory

   provision of the National Security Act, “provides that ODNI is exempt from provisions of law

   which require the disclosure of the “organization, functions, names, official titles, salaries, or

   number of personnel employed” [Dkt. 51-4 at 10] (citing 50 U.S.C. § 3507).34 The third applicable

   withholding statute is “10 U.S.C § 130c exempts from disclosure ‘sensitive information of foreign

   governments,’ which is defined to include information that ‘was provided by, otherwise made

   available by, or produced in cooperation with, a foreign government or international organization’”

   [Dkt. 51-4 at 10] (citing 10 U.S.C. §§ 130c(a), (b)(1)). Koch attests that each of these three statutes

   applies in some regard, as noted in the Vaughn Index:

           Based on my personal review of the documents identified in the attached Vaughn
           index, I have determined that each invocation of Exemption 3 in those documents
           is proper and consistent with the “intelligence sources and methods” provision of
           the National Security Act (50 U.S.C. § 3024(i)(1)) the “personnel” provision of the
           National Security Act (50 U.S.C. § 3024(m)), 10 U.S.C § 130c, or some
           combination thereof. The information behind the “(b)(3)” redactions in this case
           was therefore properly withheld under FOIA Exemption 3.

   [Dkt. 51-4 at 10].




   34
     See also 50 U.S.C. § 3024(m) (incorporating by reference 50 U.S.C. § 3507, which applies to the CIA, into the
   National Security Act and thereby conferring same authority on the DNI) [Dkt. 54-1 at 10].


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          Exemption 5

          ODNI invokes the deliberative process privilege under Exemption 5. The Koch declaration

   states: “Based on my personal review of the documents identified in the attached Vaughn index, I

   have determined that each invocation of Exemption 5 is proper and consistent with the deliberative

   process privilege because the information at issue is both pre-decisional and deliberative. Such

   information was therefore properly withheld under Exemption 5” [Dkt. 51-4 at 11].

          Exemption 6

          The Koch Declaration attests that information was properly withheld under Exemption 6

   based upon his “personal review of the documents identified in the attached Vaughn index”. More

   specifically, Koch states: “I have determined that each invocation of Exemption 6 is proper

   because: (1) it protects a personnel, medical, or “similar” file or piece of information; (2) there is

   a significant privacy interest in the underlying information; and (3) such privacy interest outweighs

   the requester’s asserted public interest in the information” [Dkt. 51-4 at 11].

          Exemption 7

          Although ODNI is not a law enforcement agency, it receives, assesses, and uses

   intelligence and other information from agencies that do have a law enforcement mission [Dkt. 51-

   4 at 12]. “In such situations, as in this case, ODNI consults with the originating agency or agencies

   to determine if FOIA Exemption 7 applies to their information” [Dkt. 51-4 at 12]. The Koch

   Declaration explains:

          As a result of that consultation process, the FBI requested ODNI invoke
          Exemptions 7(A), 7(C), 7(D), and 7(E) over certain information contained within
          ODNI records that are responsive to the Plaintiff’s Request. Respectively, these
          exemptions apply when the release of law enforcement records “could reasonably
          be expected to”: “interfere with enforcement proceedings;” “constitute an
          unwarranted invasion of personal privacy;” “disclose the identity of a confidential
          source;” and disclose investigative techniques and procedures. 5 U.S.C.
          § 552(b)(7)(A), (C), (D), (E).



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   [Dkt. 51-4 at 12]. Koch attests, based on his personal review of the documents identified in the

   Vaughn Indez, determined that “each invocation of Exemption 7 requested by the FBI is proper

   because the underlying information is subject to one or more of the exemptions contained in

   Exemptions 7(A), 7(C), 7(D), or 7(E)” and that “[s]uch information was thus properly withheld

   under Exemption 7” [Dkt. 51-4 at 12].

               Review of the ODNI Vaughn Index shows that each record is identified by a brief

   description, a list of the Exemptions invoked, and indication of which records were referred to

   other agencies to identify their equities in the records [Dkt. 54-1 at 24-25]. Further, ODNI’s

   Response Letter provides additional detail and explanation as to the specific bases for the

   Exemptions identified, providing a “key” to the Exemption designations listed in the Vaughn

   Index, as well as explaining the Exemptions invoked for the records ODNI sought consultation

   from other agencies [Dkt. 54-1 at 21-22].

        III.      Glomar Responses by NSD, NSA, and CIA Are Proper

               Defendants urge the Glomar responses of NSD, NSA, and CIA were proper; NSD asserted

   a Glomar response under Exemption 1 and NSA and CIA each asserted Glomar responses based

   on Exemptions 1 and 3.35

               “Agency refusal to confirm or deny the existence of records responsive to a request is

   known as a Glomar response.” Larson, 565 F.3d at 861. “[T]o the extent the circumstances justify

   a Glomar response, the agency need not conduct any search for responsive documents or perform

   any analysis to identify segregable portions of such documents.” Lindsey, 490 F. Supp. at 10

   (quoting People for the Ethical Treatment of Animals v. NIH, 745 F.3d 535, 540 (D.C. Cir. 2014)).



   35
     Defendants’ motion contains a typographical error indicating NSD invoked Glomar under Exemptions 1 and 3 [Dkt.
   51 at 37]; however, the briefing and the Findlay Declaration make clear that only the basis is Exemption 1


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   A Glomar response “is proper if the fact of the existence or nonexistence of agency records falls

   within a FOIA exemption.” Wolf, 473 F.3d at 374. “In the Glomar context, the ‘specific

   information’ at issue is not the contents of a particular record, but rather ‘the existence vel non’ of

   any records responsive to the FOIA request.” ACLU v. CIA, 710 F.3d 422, 427 (D.C. Cir. 2013)

   (“ACLU II”) (quoting Wolf, 473 F.3d at 374). “Because Glomar responses are an exception to the

   general rule that agencies must acknowledge the existence of information responsive to a FOIA

   request and provide specific, non-conclusory justifications for withholding that information, they

   are permitted only when confirming or denying the existence of records would itself ‘cause harm

   cognizable under an FOIA exception.’” Id. at 426 (quoting Roth v. U.S. Dep’t of Just., 642 F.3d

   1161, 1178 (D.C. Cir. 2011)). “Because courts lack the expertise necessary to second-guess such

   agency opinions in the typical national security FOIA case,” the Court “must accord substantial

   weight to an agency’s affidavit concerning the details of the classified status of the disputed

   record.” Lindsey, 490 F. Supp. 3d at 11 (quoting ACLU v. DOD, 628 F.3d at 619).

          Courts may grant summary judgment “on the basis of agency affidavits that contain

   reasonable specificity of detail rather than merely conclusory statements, and if they are not called

   into question by contradictory evidence in the record or by evidence of agency bad faith.” Id.

   (quoting Elec. Privacy Info. Ctr. v. NSA, 678 F.3d 926, 931 (D.C. Cir. 2012)). “The supporting

   affidavit must justify the Glomar response based on general exemption review standards

   established in non-Glomar cases.” Id. (quoting Elec. Privacy Info. Ctr., 678 F.3d at 931 (internal

   quotation marks omitted)). Therefore, the same Exemption 1 and Exemption 3 requirements apply

   here. “When addressing an agency’s Glomar response, courts must accord ‘substantial weight’ to

   agency determinations.” Lindsey, 490 F. Supp. 3d at 10 (citing Sea Shepherd Conservation Soc’y

   v. IRS, 208 F. Supp. 3d 58, 89 (D.D.C. 2016)). “




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           NSD’s Glomar Response – Exemption 1

           NSD invokes Exemption 1 as the basis for its Glomar response, which is asserted solely as

   to part one of Plaintiff’s June 18, 2020 request, which states:

           I request the opportunity to view all documents, records, communications and/or
           other tangible evidence reflecting or pertaining to surveillance of Edward
           Butowsky of Texas or Matt Couch of Arkansas. The term “surveillance” includes,
           but is not limited to, any attempt to hack into the computers, phones, other
           electronic devices, and/or online accounts of Mr. Butowsky or Mr. Couch. If any
           information obtained by surveillance was relayed to third parties, that information
           should be produced for inspection.

   [Dkt. 52 at 3-4]. The Findlay Declaration explains that NSD interpreted such request as “seeking

   NSD records regarding surveillance that, should they exist, would have been authorized under the

   Foreign Intelligence Surveillance Act of 1978 (FISA)” [Dkt. 52 at 4]. “Information in NSD

   records is frequently, though not exclusively, classified under section 1.4(c) of Executive Order

   13526 which covers intelligence activities, sources, and methods” [Dkt. 52 at 4]. “Several

   enumerated categories of information in the NSICG, designated for protection under section 1.4(c)

   of Executive Order 13526, would apply to records responsive to part one of this request, if any

   such records were to exist” [Dkt. 52 at 5]. Findlay attests that “[a]s an [Original Classification

   Authority], I confirm that the guidance provided in the NSICG is appropriate in requiring the

   classification of FISA-related records responsive to part one of Plaintiff’s request, should they

   exist, as they would implicate section 1.4 (c) of Executive Order 13526” [Dkt. 52 at 5]. Disclosure

   of such information “would cause harm to national security as it could permit hostile intelligence

   services to use FOIA to acquire information about United States intelligence investigations,” as

   “[o]nce a particular source or method, or the fact of its use in a particular situation is disclosed, its

   continued usefulness may be degraded.” Confirmation of the existence or nonexistence of such




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   information “would provide intelligence analysts of foreign intelligence services with individual

   pieces of information that could be compiled into a catalogue of FISA activities” [Dkt. 52 at 5-6].

   The Findlay Declaration explains

          revealing the absence of responsive records pertaining to particular individuals
          would tend to indicate that persons within the scope of the request were not targets
          of surveillance conducted pursuant to FISA. That fact could be extremely valuable
          to foreign powers and hostile intelligence services who could use it to carry out
          intelligence activities with some comfort that the U.S. Government is either not
          monitoring certain people and may not even suspect them or otherwise is not
          concerned with their activities.

   [Dkt. 52 at 6]. Findlay attests that information pertaining to operational FISA work is properly

   classified under §1.4 of EO 13526, and that NSD’s Glomar response is not made to conceal

   violations of the law [Dkt. 52 at 6-7].

          Plaintiff objects to NSD’s Glomar response on the basis that NSD improperly narrowed

   the search to FISA records in response to part 1 of the June 18, 2020 request [Dkt. 59 at 7],

   demanding that “[i]f the NSD obtained surveillance records from other sources, then those records

   should be identified and produced” [Dkt. 59 at 7]. Findlay’s Declaration explains why NSD

   interpreted the June 18 Request as one for FISA-related records, namely based on the context of

   the request seeking records related to domestic surveillance, which “should they exist, would have

   been authorized under” FISA [Dkt. 52 at 4]. Further, as stated in NSD’s June 18 Final response,

   “NSD, Office of Intelligence represents the government before the Foreign Intelligence

   Surveillance Court and is responsible for preparing and filing all applications for Court orders

   pursuant to FISA and maintains files documenting those applications and orders” [Dkt. 52-1 at

   101]. In response to Plaintiff’s June 11, 2020 FOIA request, NSD informed Plaintiff that “it does

   not maintain FBI records” [Dkt. 52 at 2]. Given Plaintiff submitted the June 18 Request to NSD




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   as the DOJ component entity after having notice NSD does not maintain FBI records,36 it is logical

   that NSD would respond and produce records within its purview. See Eddington v. U.S. Dep’t of

   Just., 581 F. Supp. 3d 218 (D.D.C. 2022) (“Eddington's FOIA request was for records kept by the

   NSD. . . . Eddington's speculation that FBI records might be at the NSD fails to show a ‘match’

   between the information previously acknowledged and the information now sought.”) (emphasis

   in original). Plaintiff asserts “surveillance records” obtained “from other sources” should have

   been identified, but it provides no explanation for how else these records may have originated.

   Findlay is General Counsel for the NSD and lead of the Office of General Counsel for NSD, and

   NSD’s FOIA unit is a constituent entity within OGC [Dkt. 52 at 1-2]. Plaintiff’s objection that

   NSD did not conduct a broader search is based on speculation, whereas Findlay explains why NSD

   FOIA interpreted his request in this manner. See, e.g., Santana v. Dep't of Just., 828 F. Supp. 2d

   204, 208 n.6 (D.D.C. 2011) (“Santana also claims that the EOUSA should have ‘construed his

   request more broadly’. . . . But, plaintiff explains neither what other documents he wishes the

   EOUSA would have provided nor how the EOUSA's interpretation of his specific requests was

   unreasonable.”); Ellis v. United States Dep't of Just., 110 F. Supp. 3d 99, 106 (D.D.C. 2015) (“This

   position is unconvincing, as DOJ, through its declaration, has articulated which databases were



   36
     As the DOJ explains, a FOIA requester should determine whether a DOJ component is likely to have the records
   sought prior to sending the request:

           Initially, it is important to understand that there is no central office in the government that processes
           FOIA requests for all federal departments and agencies. Each federal department and agency
           responds to requests for its own records. Therefore, before sending a request to DOJ you should
           determine whether DOJ is likely to have the records you are seeking. Each federal department and
           agency is required to provide reference material to assist those who wish to request records from
           them. Accordingly, you should view the websites of any federal agency which might have records
           you seek. By doing so you will learn what records are already available on the agency's website and
           you will also be able to determine which agency is likely to maintain the records you are seeking.

   U.S. DEP’T OF JUST., The Department of Justice Freedom of Information Act Reference Guide (Reference Guide) (last
   updated Dec. 3, 2021), https://www.justice.gov/oip/department-justice-freedom-information-act-reference-guide
   (emphasis added).


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   searched, why those databases were selected, and what documents were located.”) (emphasis

   added), aff’d, No. 15-5198, 2016 WL 3544816 (D.C. Cir. June 13, 2016). Finally, the Final

   Response, on its face, invokes NSD’s Glomar response broadly, stating “[a]ny such information

   is properly classified” under Exemption 1. The Court finds NSD’s Glomar response proper as to

   part 1 of the June 18, 2020 request.

          NSA’s Glomar Response - Exemptions 1 & 3

          NSA asserted a Glomar response based on Exemptions 1 and 3. The Kiyosaki Declaration

   explains the basis for these Glomar responses [Dkt. 51-3 at 22-27]. NSA invokes Glomar under

   on the basis that “NSA interpreted Plaintiffs' request as one seeking intelligence records;

   specifically COMINT which includes intercepted foreign government communications. To the

   extent a Plaintiff seeks intelligence information, NSA's response is to state that it cannot confirm

   or deny publicly in any case whether or not it has such records, as doing so would reveal whether

   or not NSA engaged in certain, or any, intelligence activities, and/or did or did not target individual

   communications for collection” [Dkt. 51-3 at 22].

          NSA invokes Exemption 1, urging that confirming or denying the existence of information

   properly classified pursuant to EO 13526 “reasonably could be expected to cause exceptionally

   grave damage to national security” [Dkt. 51-3 at 23]. The Kiyosaki Declaration attests that

   “[a]cknowledgment of the existence or nonexistence of operational intelligence information

   concerning the who, what, when, and bow of NSA's SIGINT collection efforts would reveal

   information that is currently and properly classified as set forth in Sections 1.4(c) of E.O. 13526”

   [Dkt. 51-3 at 23].    More specifically, confirming the existence or nonexistence of records

   containing information classified as TOP SECRET “could reasonably be expected to harm national

   security because it would reveal NSA intelligence capabilities, activities, and priorities, which in




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   tum could inhibit SIGINT collection and affect NSA’s ability to counter threats to the national

   security of the United States” [Dkt. 51-3 at 23]. This applies equally to “Acknowledging the

   existence or nonexistence of responsive records on particular individuals or organizations that may

   be subject to surveillance” [Dkt. 51-3 at 23]. The Kiyosaki Declaration explains why Glomar

   responses must be categorically invoked under these circumstances:

          Confirmation by NSA that a person's activities are not of foreign intelligence
          interest or that NSA is unsuccessful in collecting foreign intelligence information
          on their activities on a case-by-case basis would allow our adversaries to
          accumulate information and draw conclusions about NSA's technical capabilities,
          sources, and methods. For example, if NSA were to admit publicly in response to a
          FOIA request that no information about Persons X or Y exists, but in response to a
          separate FOIA request about Person Z state only that no response could be made,
          this would give rise to the inference that Person Z is or has been a target. Over time,
          the accumulation of these inferences would disclose the targets and capabilities,
          and therefore the sources and methods, of NSA's SIGINT activities and functions,
          and inform our adversaries of the degree to which NSA is aware of some of their
          operatives or can successfully exploit particular communications.

   [Dkt. 51-3 at 23-24].    A case-by-case approach “could reasonably be expected to cause

   exceptionally grave and irreparable damage to the national security by providing our adversaries

   a road map that instructs them on which communication modes or personnel remain safe or are

   successfully defeating NSA's capabilities” [Dkt. 51-3 at 24]. Kiyosaki attests “determination that

   the existence or nonexistence of the requested records is classified has not been made to conceal

   violations of law” and “the fact of the existence or nonexistence of intelligence information

   requested by Plaintiffs is a currently and properly classified matter in accordance with E.O. 13526

   [Dkt. 51-3 at 25].

          Regarding Exemption 3, the Kiyosaki Declaration explains that NSA’s Glomar response

   was raised pursuant to the same three statutes invoked to withhold records under Exemption 3:

   Section 6 of the National Security Agency Act of 1959 (50 U.S.C. § 3605), 18 U.S.C. § 798, and

   the National Security Act of 1947, as amended by the Intelligence Reform and Terrorism



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   Prevention Act of 2004 (50 U.S.C. § 3024) [Dkt. 51-3 at 26]. More specifically, information

   requested by Plaintiff falls under these statutes for the following reasons:

          (1) Section 6 of the National Security Act of 1959, 50 U.S.C. § 3605, because the
          information concerns the organization, function, and activities of the NSA as
          described above; (2) 18 U.S.C. § 798, because disclosure would reveal classified
          information derived from NSA's exploitation of foreign communications; and
          (3) Section 102A(i)(l) of the Intelligence Reform and Terrorism Prevention Act of
          2004, 50 U.S.C. § 3024, because the information concerns intelligence sources and
          methods. For these reasons, acknowledgement of the existence or nonexistence of
          intelligence information requested by Plaintiffs is prohibited by statute and has been
          properly determined to be exempt from disclosure pursuant to the FOIA.

   [Dkt. 51-3 at 27]. As explained supra, Congress enacted these statutes to “specifically prohibit[]

   the disclosure of information related to NSA’s functions and activities and its communications

   intelligence activities, as well as the sources and methods used by the IC as a whole” [Dkt. 51-3 at

   26]. Kiyosaki attests “I have determined that NSA’s SIGINT activities and functions, and its

   intelligence sources and methods, would be revealed if NSA confirmed or denied the existence of

   information responsive to Plaintiff's FOIA request” [Dkt. 51-3 at 26]. She further declares that the

   information protected by a Glomar response under this Exemption is also protected under

   Exemption 1 [Dkt. 51-3 at 27].

          Plaintiff objects to NSA’s Glomar response on the grounds that “records sought by the

   Plaintiff may have originated with other agencies and yet found their way to the NSA, therefore

   such records would not disclose any function of the NSA or information about its activities” and

   that “the NSA cannot categorically refuse to search for or produce records solely on the basis of

   50 USC § 3606” [Dkt. 59 at 8]. Plaintiff’s challenge to this Glomar response is speculative and is

   not sufficient to overcome the response. “A plaintiff ‘can overcome a Glomar response by

   showing that the agency has already disclosed the fact of the existence (or nonexistence) of

   responsive records, since that is the purportedly exempt information that a Glomar response is




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   designed to protect.’” Willis v. NSA, No. 17-CV-2038 (KBJ), 2019 WL 1924249, at *5 (D.D.C.

   Apr. 30, 2019) (citing ACLU II, 710 F.3d at 427). Plaintiff points to no information or records that

   originated from another agency where NSA has already disclosed the existence (or non-existence)

   of such record. Aside from failing to make a showing that defeats a Glomar response, Plaintiff

   does not provide any authority that supports its claim that documents that originate outside of NSA

   are not “information about its activities”.37               The Kiyosaki Declaration also explains that

   information from other sources in fact implicates NSA’s sources and methods:

            the details of the withheld material responsive to Plaintiff's request concerning
            correspondences with Congress regarding or referencing specific individuals
            implicates critical sources and methods. Detailed discussions about circulated
            intelligence reports and NSA capabilities, both of which generally describe the type
            of information present in these withheld materials, reflect the very sources and
            methods this statute is designed to protect.

   [Dkt. 51-3 at 21]. This rationale for NSA’s Glomar response is logical, and the Court must defer

   to the agency’s expertise. See Shapiro v. CIA, 170 F. Supp. 3d 147, 158 (D.D.C. 2016) ("Courts

   must sustain an agency's Glomar response predicated on a FOIA exemption when the justification

   for nondisclosure “appears ‘logical’ or ‘plausible.’”) (quoting ACLU II, 710 F.3d at 427). Even if

   the National Security Act alone does not justify a Glomar response for records originating outside

   of NSA, Section 102A(i)(l) of the Intelligence Reform and Terrorism Prevention Act – a separate

   statutory source – does cover records from other agencies; whether information is “properly

   withheld under § 102(A)(i)(1)” turns on whether the material “can reasonably be expected to lead

   to unauthorized disclosure of intelligence sources and methods.” Smith v. CIA, 393 F. Supp. 3d at




   37
     The language of Section 6 is broad, “as it exempts from disclosure any ‘information with respect to the activities’
   of that agency.” Wilner v. NSA, 592 F.3d 60, 75 (2d Cir. 2009). Indeed, collecting information that does not originate
   with NSA is one of its core missions, as explained by Koch in the context of the nature and purpose of NSA’s SIGINT
   activities.


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   83. Even further, should Exemption 3 not apply at all, the Kiyosaki Declaration avers that

   Exemption 1 is an independent and sufficient basis for NSA’s Glomar response.

          CIA’s Glomar Response – Exemptions 1 & 3

          CIA offered a Glomar response to most portions of Plaintiff’s requests to CIA – specifically

   in response to Parts 1, 2, 3(3), 4, 5, 6, 7, and 8 of the May 2020 CIA Request, and Part 1 of the

   June 2020 CIA Request – on the grounds that “acknowledging the existence or nonexistence of

   records responsive to those portions would reveal classified or statutorily-protected information”

   protected by Exemption 1 and Exemption 3 [Dkt. 51-1 at 8-9]. CIA’s unique role in

          Under Exemption 1, the Blaine Declaration attests that “the fact of the existence or

   nonexistence or the requested records is currently and properly classified and pertains to

   "intelligence activities (including covert action), [or] intelligence sources or methods" within the

   meaning of section 1.4(c) of the Executive Order” [Dkt. 51-1 at 9]. “There has been no official

   acknowledgment by the CIA on the topics in the portions of the May 2020 CIA Request or the

   June 2020 CIA Request for which the CIA offers a Glomar response” [Dkt. 51-1 at 11]. Blaine

   therefore states that “confirming or denying the existence of a responsive record in this particular

   case, as to certain portions of the plaintiff's requests, could reasonably be expected to cause damage

   to national security by disclosing intelligence activities, sources, and methods” [Dkt. 51-1 at 11].

   The Declaration offers part 2 of the May 2020 Request as an example of why an Exemption 1

   Glomar response is proper:

          For example, part 2 of the May 2020 CIA Request seeks "evidence indicating
          whether the 2016 Data Breach was the result of (1) outside forces (e.g., Russian
          agents, Pakistani agents, etc.) who hacked the servers from a remote location or (2)
          an individual or individuals who were present at or inside DNC facilities and copied
          the data onto a storage device." If the CIA were to confirm the existence of records
          responsive to this item in the request, such confirmation would show that the
          Agency devoted resources to this subject, and determined the cause of the 2016
          data breach. Conversely, if the_ CIA denied possessing records containing such an



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          assessment, that response would show that the Agency did not determine the cause
          or did not consider the subject to be of sufficient intelligence interest to warrant
          analysis or assessment. In either case, disclosing whether or not the CIA possesses
          responsive records would reveal which topics are the subjects of CIA analysis and
          study. Such a disclosure would reveal aspects of the Agency's intelligence
          collection, which itself constitutes an intelligence method.

   [Dkt. 51-1 at 11-12].

          Plaintiff objects to CIA’s classification of any documents related to “surveillance of

   journalists in the United States” [Dkt. 59 at 5]. The Blaine Declaration explicitly justifies the

   Glomar response in regard to this request:

          As another example, parts 4-8 of the May 2020 CIA Request seek records reflecting
          CIA plans or efforts with journalists, U.S. social media companies, U.S. search
          engine companies, and entertainment productions. If the CIA were to confirm the
          existence of responsive records to any of these parts of the request, such
          confirmation would disclose Agency intelligence activities, sources, and methods.
          Conversely, if the CIA denied possessing any responsive records, that response
          would disclose, for example, that the CIA does not have contact with those types
          of entities. Disclosing this type of information would provide our adversaries with
          insight into the Agency's sources, relationships, priorities, and capabilities. They
          could exploit this information by using it to determine how to operate against our
          national security

   [Dkt. 51-1 at 12-13]. Plaintiff also objects to the CIA’s Glomar response to “whether it surveilled

   Edward Butowsky of Texas or Matt Couch of Arkansas” [Dkt. 59 at 8]. Blaine also addresses this

   request in defense of CIA’s Glomar response:

          Additionally, part 1 of the June 2020 CIA Request seeks records "reflecting or
          pertaining to surveillance of Edward Butowsky of Texas or Matt Couch of
          Arkansas." A primary function of the CIA is to gather intelligence from around the
          world that can be used by the President and other Government officials in making
          important decisions. To fulfill this responsibility, the Agency targets certain
          individuals as part of its foreign intelligence collection efforts. Revealing the
          identity of a potential foreign intelligence target of collection could cause the
          exposure of Agency tradecraft, human sources, and specific intelligence interests
          and activities. As such, confirming or denying the existence of records on any
          particular individual reasonably could be expected to cause serious damage to
          national security by indicating whether or not CIA maintained any human
          intelligence sources related to an interest in the subject of the request.




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   [Dkt. 51-1 at 13]. Glomar responses are proper where the request seeks records related to specific

   individuals, and selective responses to requests like Plaintiff’s undermine the utility of Glomar

   responses across-the-board:

           if the CIA were to assert a Glomar response only in cases where responsive records
           exist, over time the Glomar response would serve to identify the particular cases in
           which the CIA has an intelligence interest in the subject. As a result, the CIA could
           not effectively offer a Glomar response in other cases seeking records on other
           individuals where the CIA does have a classified interest, including requests
           seeking information about intelligence sources and targets. This would hinder the
           CIA's ability to fulfill its intelligence-gathering responsibilities, which reasonably
           could be expected to cause damage to national security.

   [Dkt. 51-1 at 14]. In light of these considerations, Blaine “determined that confirming the

   existence or nonexistence of records responsive to parts 1, 2, 3(3), 4, 5, 6, 7, and 8 of the May

   2020 CIA Request, and part 1 of the June 2020 CIA Request reasonably could be expected to cause

   damage to national security, and are therefore currently and properly classified facts exempt from

   disclosure” under Exemption 1 [Dkt. 51-1 at 14].

           Regarding Exemption 3, CIA cites the National Security Act as the basis for its Glomar

   response, specifically Section 102A(i)(1) of the National Security Act (as amended, 50 U.S.C.

   § 3024) [Dkt. 51-1 at 15].38 The Blaine Declaration attests that “acknowledging the existence or

   nonexistence of records responsive to parts 1, 2, 3(3), 4, 5, 6, 7, and 8 of the May 2020 CIA

   Request, and part 1 of the June 2020 CIA Request, would reveal intelligence sources and methods,

   which the National Security Act is designed to protect” [Dkt. 51-1 at 15-16]. “The CIA’s Glomar

   response to the abovementioned parts of The Transparency Project's FOIA requests is also

   grounded in the National Security Act's protection for intelligence sources and methods. As a




   38
      Blaine also explains of Section 102A(i)(1) that “[u]nder the direction of the DNI pursuant to section 102A, and
   consistent with section 1.6(d) of Executive Order 12333, the CIA is authorized to protect CIA sources and methods
   from unauthorized disclosure” [Dkt. 51-1 at 15].


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   result, exemptions (b) (1) and (b) (3) thus apply independently and co-extensively to those parts

   of the requests” [Dkt. 51-1 at 16].

          Plaintiff objects to the CIA’s invocation of a Glomar response to its request for records

   related to the 2016 DNC data breach, claiming “it is already matter of public record that the CIA

   devoted resources to this subject” on the grounds “the CIA has no authority to surveil U.S. citizens

   on U.S. soil, therefore it has no legitimate claim to an exemption” [Dkt. 59 at 7]. Plaintiff’s claim

   of prior public record is addressed by “the ‘official acknowledgment’ line” of cases, “which

   provide[] that when an agency has officially acknowledged otherwise exempt information through

   prior disclosure, the agency has waived its right to claim an exemption with respect to that

   information.” ACLU II, 710 F.3d at 426-27 (quoting Wolf, 473 F.3d at 378) (“when information

   has been ‘officially acknowledged,’ its disclosure may be compelled even over an agency’s

   otherwise valid exemption claim.’”).

          To find official acknowledgment, “three prerequisites must be met: ‘the information

   requested must be as specific as the information previously released,’ ‘match the information

   previously disclosed,’ and ‘already have been made public through an official and documented

   disclosure.’” Gov’t Accountability Project v. CIA, 548 F. Supp. 3d 140, 156 (D.D.C. 2021)

   (quoting Leopold v. CIA, 987 F.3d 163, 170 (D.C. Cir. 2021)). “In the Glomar context, then, if

   the prior disclosure establishes the existence (or not) of records responsive to the [information]

   request, the prior disclosure necessarily matches both the information at issue ... and the specific

   request for that information.” Leopold, 987 F.3d at 170 (quoting Wolf, 473 F.3d at 379). This test

   is “strict.” Id. (citing Moore v. CIA, 666 F.3d 1330, 1333 (D.C. Cir. 2011)). “[S]since ACLU II,

   the D.C. Circuit has reaffirmed the need to satisfy both the specificity and matching requirements

   in the Glomar context.” James Madison Project v. CIA, 344 F. Supp. 3d 380, 396 (D.D.C. 2018).




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   “A plaintiff mounting an official acknowledgment argument ‘must bear the initial burden of

   pointing to specific information in the public domain that appears to duplicate that being

   withheld.’” ACLU II, 710 F.3d at 426-27 (quoting Wolf, 473 F.3d at 378). “The court must analyze

   only whether the prior disclosure acknowledges the existence of the records sought, not whether

   the content of the records has been disclosed.”          Smith v. United States Nat’l Archives & Recs.

   Admin., 415 F. Supp. 3d at 95 (citing Marino v. DEA., 685 F.3d 1076, 1081 (D.C. Cir. 2012)).

           Here, Plaintiff fails to meet the burden required to show “official acknowledgement” by

   CIA of any of the requested information. Regarding CIA’s Glomar response, Plaintiff cites one

   news article to attempt to show the records requested are already a “matter of public record,” a

   Vox.com article from 2017 breaking down an ODNI report about Russia’s involvement in the

   2016 election.39 This falls far short of meeting Plaintiff’s initial burden to point to specific

   information in the public domain includes records responsive to its request. See Smith v. United

   States Nat’l Archives & Recs. Admin., 415 F. Supp. 3d at 97 (quoting Competitive Enter. Inst. v.

   NSA, 78 F. Supp. 3d 45, 59 (D.D.C. 2015)) (“[S]peculation by the press—no matter how

   widespread—and disclosures in the press from unnamed sources are not sufficient to waive an

   agency’s right to withhold information under FOIA.”). The article provides a high-level summary

   of an ODNI report which references CIA’s involvement in investigating Russia’s role in the 2016

   DNC data breach but identifies no specific public records of CIA. See Fischer I, 596 F. Supp. 2d

   at 48 (“Because plaintiff does not allege that the information withheld is identical to information

   available in the public domain, the FBI’s withholding of the identities of FBI agents and others

   was proper.”); Leopold, 987 F.3d at 171 (finding that where public information “revealed some



   39
     See Zack Beauchamp, The Key Findings from the US Intelligence Report on the Russia Hack, Decoded, VOX (Jan. 6,
   2017), https://www.vox.com/world/2017/1/6/14194986/russia-hack-intelligence-report-election-trump (last visited
   Sept. 6, 2022).


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   program, it did not reveal the existence of Agency records about that alleged program. [Plaintiff]

   has failed to point to specific information that matches the information sought — the existence of

   Agency records and, therefore, its intelligence interest and capabilities.”); Gov’t Accountability

   Project, 548 F. Supp. 3d at 157 (“GAP has adduced no evidence that the CIA itself—or any other

   executive agency or department for that matter—has ever acknowledged vel non the records that

   GAP now seeks.”).40

          Plaintiff’s Challenge to Classifications Pursuant to Section 1.7 of EO 13526

          Plaintiff challenges the invocation of Exemption 1 to protect classified information from

   release, urging “question in this case is whether any such documents are legitimately classified”

   [Dkt. 59 at 4-7]. Against CIA, NSA, and ODNI generally, Plaintiff alleges any classification

   would be prohibited by Section 1.7 of EO 13526 if records revealed unlawful activity “on the part

   of intelligence agencies” [Dkt. 59 at 6].

          “Section 1.7 of Executive Order 13,526 bars classifying information in order to conceal

   violations of the law.” Smith v. U.S. Nat’l Archives & Recs. Admin., 415 F. Supp. 3d at 97 (citing

   Exec. Order 13,526 § 1.7(1), 75 Fed. Reg. 707 (Jan. 5, 2010)). “A plaintiff alleging that an agency

   has classified information to conceal a violation of law ‘must provide something more than

   conjecture to show that the agency’s withholding decision violates Executive Order 13,526.’” Id.

   (quoting Associated Press v. FBI, 265 F. Supp. 3d 82, 96-97 (D.D.C. 2017)). “Credible evidence

   is required.” Id. “Plaintiff’s speculative allegations regarding agency mistakes and bad faith do

   not constitute evidence of illegal activity nor do they raise an inference that the government is

   improperly withholding information.” Fischer I, 596 F. Supp. 2d at 47 n.18. Plaintiff offers no

   credible evidence that any agency identified – CIA, NSA, or ODNI – classified information for



   40




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   the purpose of concealing violations of the law. Moreover, Plaintiff is simply incorrect that

   purportedly “illegal” activities cannot produce classified documents that are properly withheld

   under Exemption 1. See ACLU v. DOD, 628 F.3d 612, 622 (D.C. Cir. 2011) (“there is no legal

   support for the conclusion that illegal activities cannot produce classified documents. In fact,

   history teaches the opposite. Documents concerning surveillance activities later deemed illegal

   may still produce information that may be properly withheld under exemption 1.”). All Section

   1.7(a) of EO 13,526 prohibits is classifying information for the purpose of concealing illegal

   activity. See People for the Am. Way Found. v. Nat’l Sec. Agency/Cent. Sec. Serv., 462 F. Supp.

   2d 21, 33 (D.D.C. 2006) ("Even if the TSP were ultimately determined to be illegal, it does not

   follow that the NSA's decision regarding the classification of materials relating to the TSP was

   made “in order to ... conceal violations of law.” Because of the deference due to the NSA in matters

   of national security, and in the absence of any evidence to the contrary, the Court must accept

   defendant's reasonable explanation that the materials were classified in order to prevent damage to

   the national security.”). Plaintiff has not shown that any information was classified in order to

   conceal illegal activity, and the Court defers to each agency’s declaration that attests to this fact.

                                         IN CAMERA REVIEW

          Plaintiff requests the Court review all documents withheld by Defendants in camera

   [Dkt. 59 at 10]. More specifically, Plaintiff argues the Court “should first reject the CIA’s, NSA’s,

   ODNI’s, and NSD’s improper Glomar responses and order them to search for and produce records

   that were improperly classified, e.g., records about DCLeaks, Guccifer 2.0, COZY BEAR and

   FANCY BEAR” [Dkt. 59 at 10].

          “FOIA provides district courts the option to conduct in camera review, 5 U.S.C.

   § 552(a)(4)(B), but ‘it by no means compels the exercise of that option.’” Larson, 565 F.3d at 869




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   (quoting Juarez v. Dep’t of Just., 518 F.3d 54, 60 (D.C. Cir. 2008)). “If the agency’s affidavits

   ‘provide specific information sufficient to place the documents within the exemption category, if

   this information is not contradicted in the record, and if there is no evidence in the record of agency

   bad faith, then summary judgment is appropriate without in camera review of the documents.’”

   Id. at 870 (quoting Hayden v. NSA, 608 F.2d 1381, 1387 (D.C. Cir. 1979)). “In the absence of any

   indicia of bad faith or misrepresentation on the agency’s part, Plaintiffs’ speculation about the

   withheld documents is insufficient to justify in camera review. Canning v. U. S. Dep’t of State,

   134 F. Supp. 3d 490, 502 (D.D.C. 2015). Moreover, “[w]hen the agency meets its burden by

   means of affidavits, in camera review is neither necessary nor appropriate.” ACLU v. DOD, 628

   F.3d at 626 (quoting Hayden, 608 F.2d at 1387).

          In camera review is not warranted. Plaintiff has not shown any of the Glomar responses

   are improper nor that any record was incorrectly withheld under the FOIA Exemption invoked.

   Plaintiff has not made the required showing that Defendants have acted in bad faith or that any

   information is contradicted in the record. Plaintiff instead argues the Court should make the “bad

   faith” determination after in camera review [Dkt. 59 at 10] (“The Court may then review the

   documents in camera and determine whether the Defendants have been acting in bad faith”)

   (emphasis added). But in camera review is “not a fishing expedition.” Canning, 134 F. Supp. 3d

   at 502. Plaintiff’s doubt is not enough, and suspicions alone do not allege bad faith or otherwise

   justify in camera review. See id. (“If in camera review were justified solely on the basis of

   Plaintiffs’ ‘doubt,’ it is difficult to imagine any FOIA action in which such review would not be

   warranted.”). Any request by Plaintiff for the Court to order production of records subject to

   Defendants’ Glomar responses should also be denied, otherwise, the purpose of Glomar’s

   protections are defeated. See Smith v. U.S. Nat’l Archives & Recs. Admin., 415 F. Supp. 3d at 97




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   (D.D.C. 2019) (citing People for the Ethical Treatment of Animals, 745 F.3d at 540) (“A Glomar

   response relates to the existence or non-existence of records, therefore ordering an agency to search

   for responsive records or to produce original classification markings in support of its response

   would undermine the purpose of Glomar.”). Summary judgment, as set forth herein, is warranted

   based on the present record without in camera review. See Larson, 565 F.3d at 870 (“The court

   concluded, and we agree, that the agencies’ affidavits standing alone were sufficiently specific to

   place the challenged documents within the exemption categories, and the plaintiffs did not contest

   the contents of the withholdings or present any evidence contradicting the affidavits or suggesting

   bad faith. Summary judgment without in camera review was therefore appropriate”); Smith v.

   United States Nat’l Archives & Recs. Admin., 415 F. Supp. 3d at 97 (“Because the Fitzpatrick

   Declaration is sufficient to support [the agency’s] Glomar response, the agency need not conduct

   a search for any responsive records nor submit them for in camera review.”).

        PLAINTIFF’S PURPORTED CROSS-MOTION FOR SUMMARY JUDGMENT

          Defendants urge Plaintiff has not in fact moved for summary judgement in his response.

   Plaintiff rejoins only that the “first paragraph [of his filing] []plainly states that the Plaintiff is

   cross-moving for summary judgment” [Dkt. 63 at 1]. Merely labeling a response to Defendants’

   motion as Plaintiff’s “cross-motion” does not render it a proper motion, as on its face, the “cross-

   motion” does not comply with the Eastern District of Texas Local Rules related to summary

   judgment, which provide in relevant part:

          Any motion for summary judgment must include: (1) a statement of the issues to
          be decided by the court; and (2) a “Statement of Undisputed Material Facts.” If the
          movant relies upon evidence to support its motion, the motion should include
          appropriate citations to proper summary judgment evidence as set forth below.
          Proper summary judgment evidence should be attached to the motion in accordance
          with Section (d) of this rule.
   Local Rule CV-56(a). Nor does the “cross-motion” comply with the district’s general rule for the




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   form of motions and other pleadings, which states in part: “Each pleading, motion, or response to

   a motion must be filed as a separate document, except for motions for alternative relief (e.g., a

   motion to dismiss or, alternatively, to transfer).” Local Rule CV-7(a).

          Plaintiff, anticipating the filing may be deemed improper or inadequate, urges that “[i]f the

   Court grants permission, the Plaintiff will address the remaining issues in an amended response /

   cross-motion” [Dkt. 59 at 1]. But no motion to extend the deadline or motion for leave to file an

   amended cross-motion was ever filed. The Scheduling Order in this cause set January 7, 2022 as

   the deadline for both Plaintiff’s response to Defendants’ motion and for Plaintiff’s cross-motion

   for summary judgment [Dkt. 27 at 1]. An amended scheduling order was entered at the request of

   the Parties, extending the date for Defendants’ motion [Dkt. 44]. Plaintiff then moved to extend

   both the deadline to file a response and any cross-motion to April 5, 2022, which the Court granted

   [Dkts. 55 at 1; 56]. On April 4, 2022, Plaintiff moved for another extension of time to file its

   response and any cross-motion until April 12 [Dkt. 58]. However, the next day on April 5, before

   the Court could grant or deny such request, Plaintiff filed the instant response/“cross-motion”

   [Dkt. 59]. The Court therefore denied the motion as moot in light of the filing [Dkt. 61]. The

   pretrial case-management orders in this matter, from the beginning, have been tailored to the

   scheduling and briefing needs unique to FOIA litigation. Both Parties have filed motions for leave

   and motions to extend deadlines, and the Court has granted each when unopposed and reasonable.

   Plaintiff offers no explanation for its failure to file a complete, procedurally proper cross-motion

   for summary judgment within the extended deadline or to request an extension to do so. Though

   the Court finds Plaintiff has not in fact moved for summary judgment, even assuming Plaintiff had

   filed a procedurally proper cross-motion, the Court would recommend it be denied for the same

   reasons it recommends granting Defendants’ motion. See Brewer v. Dep’t of Just., No. 3:18-CV-




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   1018-B-BH, 2019 WL 3948351, at *7 (N.D. Tex. July 30, 2019) (denying the plaintiff’s cross-

   motion for summary judgment) (“Because Defendants have met their summary judgment burden

   and are entitled to judgment on Plaintiff’s claims, his cross-motion for summary judgment should

   be DENIED.”), report and recommendation adopted, No. 3:18-CV-1018-B, 2019 WL 3947132

   (N.D. Tex. Aug. 21, 2019).

                             CONCLUSION AND RECOMMENDATION

          For the foregoing reasons, the Court recommends the Non-FBI Defendants’ Motion for

   Summary Judgment [Dkt. 51] be GRANTED as to EOUSA, NSA, CIA, ODNI, CRM, and OIP

   (on behalf of OGA and OLA), and Plaintiff’s FOIA claims as to EOUSA, NSA, CIA, ODNI, CRM,

   and OIP be DISMISSED WITH PREJUDICE. The Court further recommends Plaintiff’s

   “Cross-Motion” [Dkt. 59] be DENIED.            The Court recommends the Motion for Summary

   Judgment be GRANTED as to NSD’s Glomar response and DENIED WITHOUT PREJUDICE

   TO REFILING as to the adequacy of NSD’s search for the remaining NSD requests, specifically

   NSD’s search for records responsive to the June 15 request items and its search as to part 2 of the

   June 18 request. The Court will permit NSD to submit an additional affidavit to address the

   adequacy of its search.

          Within fourteen (14) days after service of the magistrate judge’s report, any party must

   serve and file specific written objections to the findings and recommendations of the magistrate

   judge. 28 U.S.C. § 636(b)(1)(C). In order to be specific, an objection must identify the specific

   finding or recommendation to which objection is made, state the basis for the objection, and

   specify the place in the magistrate judge’s report and recommendation where the disputed

   determination is found. An objection that merely incorporates by reference or refers to the briefing

   before the magistrate judge is not specific.




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          Failure to file specific, written objections will bar the party from appealing the unobjected-

   to factual findings and legal conclusions of the magistrate judge that are accepted by the district

   court, except upon grounds of plain error, provided that the party has been served with notice that

   such consequences will result from a failure to object. See Douglass v. United Servs. Auto. Ass’n,

   79 F.3d 1415, 1417 (5th Cir. 1996) (en banc), superseded by statute on other grounds, 28 U.S.C.

   § 636(b)(1) (extending the time to file objections from ten to fourteen days).


           SIGNED this 9th day of September, 2022.




                                       ___________________________________
                                       Christine A. Nowak
                                       UNITED STATES MAGISTRATE JUDGE




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